Case Compress                                                                                                 Sheet 1 of 46 Sheets
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 1                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA                        1   forever.
 2                       CEDAR RAPIDS DIVISION
                                                                             2              We don't do it that way in Federal court.
 3   United States of America,                                               3   We do it very quickly.     And so, as I said, this
 4                      Plaintiff,                   No. 18-CR-1023          4   entire process of jury selection will be completed
                                                                             5   here this morning.
 5           vs.
                                                                             6              So let me, first of all, describe the court.
 6   Michael Stevenson,                              VOIR DIRE
                                                                             7   You are in Federal court.     In our United States, we
 7                      Defendant.                                           8   have both State courts and Federal courts.        County
 8                    *   *   *   *   *                                      9   courthouses sometimes you may have heard of.
 9            Transcript excerpt of proceedings held at
                                                                            10              This is a Federal court.     We are one
10   the Federal Courthouse, Cedar Rapids, Iowa, on the
11   23rd day of April, 2019.                                               11   district out of 94.     We're the Northern District of
12                    *   *   *   *   *
13   Before: C.J. Williams, Judge                                           12   Iowa.     We take up essentially the top half of the
14                    *   *   *   *   *                                     13   state, if you took Highway 30 across, and then just
15   Appearances:
16   John H. Lammers                                                        14   everything north of Highway 30, roughly.        It goes by
     Assistant US Attorney
17   600 Fourth Street, Suite 670                                           15   county, but that's essentially the Northern District
     Sioux City, Iowa 51101                                                 16   of Iowa.
18   and
                                                                            17              There are 94 districts across the country,
19   Kyndra Lundquist                                                       18   including Guam and Puerto Rico and the Virgin
     Assistant US Attorney
20   111 Seventh Avenue SE, Box 1                                           19   Islands.     I apologize you're not in the Virgin
     Cedar Rapids, Iowa 52401                    for USA.
21                                                                          20   Islands.     You're in the Northern District of Iowa.
     Cory Goldensoph                                                        21              In this district, we are a small district as
22   Attorney at Law
     425 Second Street SE, Suite 803                                        22   far as the number of judges are concerned.        I'm a
23   Cedar Rapids, Iowa 52401        for Defendant.                         23   district court judge.     And then we have one other
24                         *      *   *   *      *                          24   district court judge, a chief judge, Leonard Strand,

25   Transcript ordered the 25th day of November, 2019.                     25   who presides out in our Sioux City courthouse.        We
     Transcript delivered the 17th day of December, 2019.                                        Sarah J. Dittmer, CSR, RPR
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                                                                   2                                                                  4
 1                       P R O C E E D I N G S                               1   only have the two courthouses:        here in Cedar Rapids
 2                 THE COURT:    All right.      Please be seated.           2   and then in Sioux City.
 3                 All right.    Well, welcome to the United                 3              We have a senior district court judge.     So a
 4   States District Court for the Northern District of                      4   district court judge, like Judge Strand and me, who
 5   Iowa.                                                                   5   served on the bench for a number of years and then
 6                 My name is C.J. Williams.         I am a United           6   took kind of semiretired status.
 7   States District Court Judge.             And I will presiding           7              The way it works is once you reach a certain
 8   over this trial here today.                                             8   age, a number of years on the bench, you can retire
 9                 What we're going to do this morning is go                 9   at full pay for the rest of your life or you can take
10   through jury selection.           I'm going to start off by            10   senior status and continue to work, essentially for
11   describing the court, introducing some people in the                   11   free, because you would get paid whether you worked
12   courtroom to you.                                                      12   or not.
13                 I'll describe the jury selection process                 13              And Judge Linda Reade has taken senior
14   we're going to be going through here this morning.                     14   status.     And even though she could be out golfing
15   Then we'll start in on that process.              We'll -- We          15   every day and getting paid, she still comes in and
16   will complete it by noon today.                                        16   takes cases and works.     And so she's our senior court
17                 And those who are then selected to serve as              17   judge.
18   jurors will start hearing evidence yet today, this                     18              We have two magistrate judges, one here in
19   afternoon, after we have a lunch break.                 This is very   19   Cedar Rapids, Mark Roberts, and then one out in Sioux
20   different than what it often is in some State courts.                  20   City, Kelly Mahoney.
21                 I have a friend in California who tells me               21              So we have very few judges, but we're a very
22   his horror stories about being called for jury                         22   busy district.     We have one of the highest per-judge
23   selection.       And they'll come sit in a room in the                 23   caseloads in the country.     And for several years
24   basement of a courthouse for days at a time without                    24   running, the highest per-judge trial record in the
25   even seeing the inside of a courtroom.                 And it takes    25   country.
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 1            And so we're a very busy court.      And that's        1   gathering a group of people randomly selected from
 2   one of the reasons why we do things very efficiently,           2   the community to sit in judgment on a case.        And
 3   including jury selection.                                       3   those people can now decide a case that is binding
 4            Let me introduce to you some of the people             4   upon the Government.
 5   in our courtroom.     First of all, Sarah Dittmer is our        5              Now think about that.   Can you imagine in
 6   court reporter.     She has, by far, the most difficult         6   Russia or China or other places where a group of
 7   job in the courtroom.     She has to take down literally        7   citizens can come in and tell their government what
 8   every word that's said by anybody in this courtroom.            8   the answer is and it's binding on the government?
 9            Now as skilled as she is, she can only take            9              It's really quite a remarkable thing we
10   down one person at a time, and she can only take it            10   have.     And we have to honor that process.    And it's
11   down if she can actually hear the person.                      11   very fundamental to our criminal justice system and
12            So when we go through this jury selection             12   our civil justice system to have juries decide these
13   process, there'll be times where we're going to be             13   issues.     It is one of the most important duties of a
14   calling upon you to answer a question.       When that         14   citizen besides paying taxes and voting.
15   happens, then we will hand you a microphone.                   15              We have adopted our jury system from England
16            And so please hold off on answering any               16   where we adopted most of our common law.       And the
17   question until you have a microphone in front of you           17   jury system has developed and changed a little bit
18   so that Ms. Dittmer can fully hear what you have to            18   over time.     And I think it's helpful to jurors to
19   say.   And try not to speak over the questioner.         And   19   understand how that's developed to understand your
20   the questioner will try not to speak over you.                 20   role a little bit better.
21            Patrick Thompson is one of my law clerks.             21              So originally jurors were made up of people
22   Mr. Thompson was a practicing lawyer in Miami for              22   who actually knew something about the case, the
23   about six years before he decided to come and be a             23   facts, or the parties.     And so the thinking back then
24   law clerk for me for a couple years.     He's going to         24   was that if we've got a dispute between two people,
25   move on and go back to the practice of law after he            25   we should get the people who know them and know the
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 1   leaves sometime this summer.     He'll help me                  1   facts and have them come in and decide what the
 2   throughout this trial on any matters that come up.              2   answer is on the case.
 3            We also have the court security officers               3              And so you might have jurors sitting in the
 4   that you have seen when you came in.     They're in the         4   box, and then they come up and they testify, and then
 5   blue blazers.     Their job -- They have a lot of jobs.         5   they go back in the box.     And that was decided over
 6   One of their jobs is when we have a jury trial, they            6   time that that may not be the fairest way to decide a
 7   help the jury by telling you where to go.        They'll        7   dispute.
 8   open up the doors into the jury room for you, make              8              And instead, what we really need are people
 9   sure you're ready to come back into the courtroom.              9   that don't have an interest in this case, that don't
10   And so they help us a lot during jury trials.                  10   really have knowledge of either side, and don't know
11            You'll see gentlemen in blazers or suits              11   the facts of the case and are going to be neutral and
12   against the back wall.     Those are deputy U.S.               12   decide the case based on the facts that they hear at
13   marshals.     They're in the courtroom whenever the            13   trial and based on the law as given to them by the
14   judge is in the courtroom.     And then the most               14   judge.
15   important -- And I'll introduce the parties in a               15              And so our jury selection process has
16   little bit.                                                    16   evolved now to gathering a group of citizens randomly
17            But the more important people in the room,            17   pulled from the community and then selecting from
18   quite frankly, are you.     You are going to be the            18   that group people who are best able to be fair and
19   judges of the facts.     You'll be deciding this case,         19   impartial and decide the case based on the facts and
20   those of you who are ultimately selected as jurors in          20   the merits of the case and not on anything else.
21   this case.                                                     21              And so we have this jury selection process
22            So let me talk to you a little bit about the          22   we go through where we ask questions of the
23   jury selection process.     Juries, quite frankly, are         23   prospective jurors.     That's called voir dire.     It
24   one of the most fundamental forms of democracy that            24   comes from the French infinitive verbs "voir," to
25   we have in America.     If you think about it, we are          25   see, and "dire," to speak.     And so we're going to see
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 1   and speak to you and learn things about you so that          1   Mr. Thompson to place you under oath.          And this
 2   the lawyers can determine who might be the most fair         2   includes, as well, those of you in the back of the
 3   and impartial for this case.                                 3   courtroom who are not sitting up front here.
 4              This isn't a judgment about whether you're a      4              So, Mr. Thompson.
 5   good person or a bad person.       Imagine, for example,     5              THE CLERK:    Please raise your right hands.
 6   if we had a case where it was medical malpractice and        6              (Prospective jurors sworn.)
 7   a doctor was being sued for botching -- allegedly            7              THE COURT:    All right.   Thank you.
 8   botching a surgery and among you was a surgeon who           8              When we go through these questions, we're
 9   had been sued multiple times for allegedly botching a        9   going to be directing our questions to the people up
10   surgery.                                                    10   front, the 29 up front.
11              You can imagine that that person may not be      11              Those of you in the back of the courtroom,
12   the most fair and impartial person to sit as a juror        12   please listen and pay attention.          It may be necessary
13   on that type of case.       May be a great juror on         13   at some point during the jury selection process for
14   another type of case, but not on this type of case.         14   us to excuse one of these jurors sitting up front.
15   And that's what we're trying to do here.       You may be   15              And if that happens, then we will randomly
16   a wonderful juror on some other type of case, but           16   pull one of you from the back of the courtroom and
17   maybe on this particular type of case, you may not be       17   have you come up and replace these jurors.          It helps
18   the most fair and impartial.                                18   speed up the process if you've been paying attention
19              And so we're trying to go through this           19   to the questions asked and have been thinking about
20   process to figure out who would fit in that category.       20   what your answers would be.
21   As you can see, there's actually 29 of you pulled up        21              Because if you are pulled up here to replace
22   in front here.    And we only need 13 people to             22   somebody, the first question I'll have of you is:
23   ultimately serve on the jury.       12 people ultimately    23   "Did you listen to all the questions that are asked
24   decide the case, and then we always have one juror as       24   and did you have any answers that we need to know to
25   an alternate in case somebody gets sick or there's          25   any of those questions?"       And it speeds up the
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 1   some other issue.                                            1   process if you've gone through thinking about that a
 2              I tried a case last week.    And we had a         2   little bit.
 3   juror who had a diabetic reaction and ended up in the        3              All right.    Let me talk to you about the
 4   hospital, and we had to use our alternate in the --          4   logistics of this case.       The estimated length of this
 5   ultimately to decide the case.       And so we'll have an    5   trial is four weeks.       I'm kidding.     It's four days.
 6   alternate.                                                   6   We actually do have trials that last not only four
 7              But we need to get down to 13 out of this 29      7   weeks, but sometimes four months.          And so this is a
 8   up here in this group.       And the way that we do that     8   very short trial.       We anticipate this case will be
 9   is the parties have the right to exercise what's             9   submitted to you by the end of this week.          And so
10   called peremptory strikes, meaning that we can remove       10   this is not going to be a long trial.
11   a juror for any reason.                                     11              The process we're going to go through here
12              And so we're going to reach a point during       12   today is we will pick the jury this morning.          And
13   this jury selection process, after you've answered          13   we'll take a lunch break.       We'll have a break about
14   all the questions that I have and you've answered the       14   midmorning this morning.       We'll have a break
15   questions by the lawyers, where the lawyers are then        15   midafternoon.
16   going to exercise their peremptory strikes and remove       16              And then on each succeeding day through
17   enough of you to get us down to the 13.                     17   Friday, we're actually going to hold court from 8:30
18              They have to.    It's not a case where -- They   18   to 2:30.    And the reason we do that is two reasons:
19   don't have a choice.       They have to exercise            19   One is it allows you-all to go home.          Some of you may
20   peremptory so we can get it down to 13.       And so at     20   have school-aged kids at home.        They get out of
21   some point in this process this morning, we'll do           21   school at 3:00.     It may allow you to get back to a
22   that.                                                       22   job.
23              So during this process, as I indicated, we       23              It also allows me to hold other hearings in
24   will be asking you questions.       And your answers have   24   the afternoon on other cases that are urgent that I
25   to be under oath.    So at this time I'm going to ask       25   need to take care of.       So we won't be having a lunch
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 1   break on those succeeding days.                                   1              And so I want you to think about that as
 2            So Wednesday, Thursday, Friday, 8:30 to                  2   well when you're considering whether you need to get
 3   2:30.   And we'll have two 20-minute breaks.       In the         3   off this jury for a hardship.       And so thinking about
 4   back here is a jury room.     There's a refrigerator, a           4   the juror next to you and whether whatever your
 5   microwave, that kind of thing.     And so you're welcome          5   excuse might be is any more severe or extreme than
 6   to bring in food and eat during those breaks.           But       6   what the juror sitting next to you might be, I now
 7   we'll be going from 8:30 to 2:30 with two 20-minute               7   ask for a show of hands of any of you who think that
 8   breaks kind of evenly spaced.                                     8   by serving on this jury would constitute a severe or
 9            All right.    So I'm about to ask if serving             9   extreme hardship for you.
10   on a jury where we have a -- only a four-day trial               10              Okay.    I see, let's see, two, three --
11   with that kind of schedule is going to constitute an             11   Please keep your hands up for a minute so I can mark
12   extreme or severe hardship for anybody.        But before I      12   them down.
13   ask for a show of hands, let me talk to you a little             13              All right.    I'm going to take you at what we
14   bit about that.                                                  14   call sidebar, which is I'm going to talk to you over
15            First of all, I'm intentionally tough on                15   here at the side of the bar.       When I do this,
16   granting what we call hardship excuses.        That is when      16   Mr. Thompson will turn on what we call white noise so
17   jurors want to get off jury duty because of a                    17   that we can have a private conversation with somebody
18   hardship that they claim.                                        18   over here at the side and the rest of the jurors
19            And that's not because I'm not sympathetic.             19   can't hear what's going on.
20   I understand this is not what any of you really want             20              And I do this for hardship because I don't
21   to be doing right now.     You-all have other places             21   know what the hardship is.       Sometimes there -- it's
22   you'd like to be or need to be.        You have jobs.     Some   22   personal matters and people may not feel comfortable
23   of your employers don't pay you for when you're                  23   talking about it among everybody else.
24   serving on a jury.     Some of you are self-employed,            24              As we go through the rest of the questioning
25   and every day you're in jury service is a day you're             25   here today, if there's anything else that I ask or
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 1   not making money.     And so not only is it a time                1   the lawyers ask that you don't feel comfortable
 2   sacrifice, but it's a financial sacrifice.        And I           2   answering in public, just say that you'd like to talk
 3   understand that.                                                  3   to me about it at sidebar, and we'll do the same
 4            But for our system of justice to work, we                4   thing.     We'll come over to the sidebar, and we'll
 5   really need to have a fair cross section of the                   5   have a more private conversation.
 6   community serving as jurors.     If the only people we            6              And so why don't we start with Mr. Duff.
 7   could have serve as jurors are those that lived                   7              (At sidebar.)
 8   within 20 minutes of the courthouse and were                      8              THE COURT:    Let him get his headphones on.
 9   unemployed or retired, that would not be a very fair              9   Hang on just for a second, if we can.
10   cross section of the community.        And that's why I          10              All right.    Mr. Duff, this is the
11   don't readily give out hardship excuses.                         11   microphone.     So if you could be careful to speak into
12            It's also important for our system to work              12   that --
13   to think about our duties.     We talk a lot in America          13              MR. DUFF:    Okay.
14   about all the rights we have.     I have a right to              14              THE COURT:    -- then the court reporter can
15   this, and I have a right to do that.        And we don't         15   hear us.
16   talk very much or think very much about our duties as            16              MR. DUFF:    I appreciate my civic duty.    And
17   citizens.                                                        17   I really would like to serve on the jury, but I'm
18            We have a duty as citizens to serve as                  18   extremely arthritic.       I have surgery scheduled in a
19   jurors when called by your government to do so.                  19   couple of weeks.       But to sit down at any -- for any
20   There are people serving overseas right now in harm's            20   length of time is going to increase my pain levels as
21   way sometimes for months or years at a time, parted              21   the time goes on.       And so I'm just afraid that my
22   from their loved ones, who are serving our country               22   judgment will be clouded after an extended period of
23   and making a far greater sacrifice than what we're               23   time.
24   asking you to make here, to serve on a jury for four             24              THE COURT:    And you need to, like, move on
25   days.                                                            25   kind of a regular basis so you don't get --
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 1             MR. DUFF:     I need to get up and move around.          1   migraines.    I had a six-day migraine last week.              And
 2             THE COURT:     -- stiff?                                 2   I ended up in the ER because of the stress.             So, yes,
 3             Okay.    All right.      I am going to excuse you        3   it's very -- it would be very hard for me to
 4   under those conditions, given your medical condition.              4   concentrate on the case.
 5   So thank you for coming in here today.                             5              THE COURT:     All right.     I'm going to go
 6             MR. DUFF:     I appreciate the Court's time              6   ahead and excuse you then.          You're free to go.
 7   too.    Thank you.                                                 7              MS. SULZNER:     Thank you very much.
 8             THE COURT:     Thank you.                                8              THE COURT:     Thank you.
 9             (In open court.)                                         9              (In open court.)
10             THE COURT:     You're free to leave.                    10              THE COURT:     All right.     And then Ms.
11             Is it Ms. Sulzner?                                      11   Beckley?
12             (At sidebar.)                                           12              (At sidebar.)
13             THE COURT:     Good morning.                            13              THE COURT:     Good morning.
14             COURT REPORTER:        Your Honor, I can't hear.        14              MS. BECKLEY:     Good morning.     I have an
15             THE COURT:     We need to speak up a little             15   81-year-old husband at home.          And he had a stroke.
16   bit.    This is the microphone.                                   16   And so -- He's mobile, but from here up, he's not
17             MS. SULZNER:     My husband is -- has recently          17   well.   He has no short-term memory.         And he has loss
18   been diagnosed --                                                 18   of sight in his right eye.
19             COURT REPORTER:        Your Honor, I still can't        19              If I tell him something and ask him five
20   hear.    I can't hear.                                            20   minutes later, he doesn't remember what I said.                And
21             THE COURT:     You need to speak up a little            21   he's home by himself.       I think he would be okay
22   bit more.                                                         22   during the day.    I would not be able to be
23             MS. SULZNER:     Sorry.                                 23   sequestered because he has pills to take and he
24             THE COURT:     Okay.                                    24   doesn't know how to sort them out.
25             MS. SULZNER:     My husband has been diagnosed          25              THE COURT:     We don't sequester witnesses --
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 1   with a severe mental illness.         He's had two bouts of        1              MS. BECKLEY:     Okay.
 2   psychotic episodes.       One was just like three or four          2              THE COURT:     -- or jurors.     And we won't be
 3   weeks ago.    He deals with constant suicidal                      3   doing that in this case.          So that's not a concern
 4   tendencies.    At the moment I have a minor at home.          I    4   that you should have.       So you will be free to go home
 5   really don't have an option.                                       5   every day.
 6             I can continue on, but he would have to come             6              MS. BECKLEY:     Okay.
 7   with me every day.       And if he should decide -- Just a         7              THE COURT:     Where do you live at?
 8   week ago I almost called the sheriff to have him                   8              MS. BECKLEY:     In Dubuque.
 9   taken out of the home.       So it's kind of a deal where          9              THE COURT:     In Dubuque.     So that's, what,
10   at this particular time, until we get his medication              10   about a 45-minute or an hour-and-15-minute --
11   back and get him down to where he needs to be, it's               11              MS. BECKLEY:     About an hour.
12   a -- I'm his constant caregiver.                                  12              THE COURT:     Okay.     An hour drive.
13             THE COURT:     I understand.     And my concern         13              MS. BECKLEY:     I take the Mount Vernon Road.
14   would be, quite frankly, that you'd be thinking about             14              THE COURT:     Okay.     And so do you think,
15   all that while you're serving on the jury instead of              15   under those circumstances, if you knew you could go
16   thinking about the evidence and --                                16   home every day and --
17             MS. SULZNER:     I would.                               17              MS. BECKLEY:     I think he will be fine, but
18             THE COURT:     -- making a decision.                    18   I -- you know.    Being 81, you just don't know from
19             MS. SULZNER:     Especially if he decided --            19   day to day.
20   He's an adult.       You know, he could say, "I'm going to        20              THE COURT:     Certainly.
21   go to the van," or whatever.         He's been known to take      21              MS. BECKLEY:     I'm -- Well, I'm happy to be
22   off.                                                              22   here.
23             THE COURT:     Okay.                                    23              THE COURT:     Okay.
24             MS. SULZNER:     So it's a constant.     I also --      24              MS. BECKLEY:     I was a court attendant for
25   That, with the stress of -- I have constant                       25   the judicial district for the State for eight and a
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                                                              21                                                                23
 1   half years.    So I know how all this all works.          And I    1   hardship excuses, what I hear from the judges, you
 2   know how important it is for people to be here.                    2   know, in California or New York or Chicago is that
 3   So --                                                              3   when they get to that point, everybody raises their
 4              THE COURT:     Sure.     Well, I don't think I'm        4   hand, and it takes an hour to get through everybody's
 5   going to excuse you, but here's --                                 5   excuse.
 6              MS. BECKLEY:     Okay.                                  6              And I said, "That doesn't happen to us in
 7              THE COURT:     -- here's the deal.     Chances of       7   Iowa.     In Iowa, citizens are willing to serve.      And
 8   you actually ending up on the jury -- You have a                   8   when they do raise their hand, it's legitimate
 9   50/50 chance, probably, of being struck by one of the              9   reasons for why they need to be excused."       And so
10   lawyers.                                                          10   thank you very much for your willingness to serve in
11              MS. BECKLEY:     Okay.                                 11   this case.
12              THE COURT:     And even if you end up on the           12              All right.    This is a criminal case.   The
13   jury, if something arises with your husband, you just             13   plaintiff, or the one bringing the charge in the
14   let me know --                                                    14   case, is the United States of America.       And the
15              MS. BECKLEY:     Okay.                                 15   defendant is Michael Stevens [sic].      I'm going to
16              THE COURT:     -- and we will excuse you.      And     16   read to you now a statement of the case which will
17   then we'll take the alternate --                                  17   give you some description about what this case is
18              MS. BECKLEY:     Okay.                                 18   about.
19              THE COURT:     -- instead.     Okay?                   19              The charges in this case are as follows:       In
20              MS. BECKLEY:     Sounds fine to me.                    20   Count 1, Defendant Michael Stevenson is charged with
21              THE COURT:     All right.     Thank you so much.       21   conspiracy to distribute a mixture or substance
22              MS. BECKLEY:     All right.     Thank you.             22   containing a detectable amount of heroin, a schedule
23              (In open court.)                                       23   one controlled substance, and cocaine base, commonly
24              THE COURT:     Anybody else that I missed?             24   called crack cocaine, a scheduled two controlled
25              Okay.    Mr. Thompson, would you call a couple         25   substance.
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 1   jurors to replace those two.                                       1              In Count 2, Defendant Michael Stevenson is
 2              THE CLERK:     Robert Smedley in seat number 20         2   charged with knowingly and intentionally
 3   here on the end.       And Megan Freitag, seat number 23.          3   distributing, on or about February 1, 2017, a mixture
 4              THE COURT:     Could you get a microphone to            4   or substance containing a detectable amount of
 5   Mr. Smedley.                                                       5   heroin, a schedule one controlled substance.
 6              THE CLERK:     Yes.                                     6              In Count 3, Defendant Michael Stevenson is
 7              THE COURT:     Mr. Smedley, would serving on            7   charged with knowingly and intentionally
 8   this jury for four days constitute a severe, extreme               8   distributing, on or about February 2nd, 2017, a
 9   hardship for you, sir?                                             9   mixture or substance containing a detectable amount
10              MR. SMEDLEY:     No.                                   10   of heroin, a schedule one controlled substance.
11              THE COURT:     All right.     Thank you.               11              In Count 4, Defendant Michael Stevenson is
12              And if you could pass the microphone down to           12   charged with knowingly and intentionally
13   our other new juror.       This would be Ms. Freitag.             13   distributing, on or about August 23rd, 2017, cocaine
14              Would serving on the jury be a severe,                 14   base, commonly called crack cocaine, a schedule two
15   extreme hardship for you?                                         15   controlled substance.
16              MS. FREITAG:     No.                                   16              In Count 5, Defendant Michael Stevenson is
17              THE COURT:     All right.     Thank you.               17   charged with knowingly and intentionally
18              I want to thank all the jurors for being               18   distributing, on or about August 23, 2017, a mixture
19   willing to serve in this case.          The two that I            19   or substance containing a detectable amount of
20   excused were excused for medical -- very legitimate               20   heroin, a schedule one controlled substances.
21   medical issues of either them or a loved one.            And      21              The defendant has pleaded not guilty to
22   that's been my experience.                                        22   these crimes.     Do not take anything that I have just
23              I go to conferences with judges around the             23   said in the statement of fact -- or statement of the
24   country.    And when we get to the point we often do,             24   case as facts or as proof of anything.       This is
25   talking about jury selection, and we talk about the               25   simply a broad description of what this case is
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 1   about.                                                              1   Attorney Katie Hayden.       And we have two new hires who
 2              And the reason we bring this up is I just                2   haven't started yet, but will be starting:           Assistant
 3   want to see if anybody thinks they've heard of this                 3   United States Attorney Timmons and Special Assistant
 4   case or believes that they know anything about this                 4   United States Attorney Patrick Greenwood.
 5   case.     I have no idea whether this has been reported             5              THE COURT:    Thank you, Mr. Lammers.
 6   in any newspaper or anything like that.                             6              Do any of you jurors up front here believe
 7              But do any of you, by a show of hands, think             7   you know Mr. Lammers, Ms. Lundquist, the
 8   you know anything about the case or heard anything                  8   investigator, or any of the names of anybody that
 9   about it?     Okay.   I see no hands.                               9   Mr. Lammers read off?       If so, please raise your hand.
10              The parties in this case, as I've indicated,            10              We have in the -- Is it Ms. Einck?
11   are the United States and Mr. Stevens -- Stevenson.                11              MS. EINCK:    Very good.
12   The United States is represented by two prosecutors:               12              THE COURT:    Ms. Einck, who do you know?
13   Jack Lammers and Kyndra Lundquist.                                 13              MS. EINCK:    Ashley Corkery.
14              Mr. Lammers, could you introduce Ms.                    14              THE COURT:    Okay.     And how do you know Ms.
15   Lundquist, the other person at your table, and other               15   Corkery?
16   people that you practice with, sir.                                16              MS. EINCK:    Friend of the family.
17              MR. LAMMERS:     Yes, Your Honor.    If you give        17              THE COURT:    All right.     Do you think that by
18   me a minute, I have a list of people I practice with.              18   knowing Ms. Corkery and the fact that she works at
19              Good morning.     My name is Jack Lammers.        I'm   19   the U.S. Attorney's Office, if you were asked -- if
20   an Assistant United States Attorney here in the                    20   you were selected to be a juror in this case, do you
21   Northern District of Iowa.        This is Kyndra Lundquist.        21   think that that would influence your ability to be
22   She's also an Assistant United States Attorney here                22   fair and impartial to both sides in this case in any
23   in the Northern District of Iowa.          And this is Chad        23   way?
24   Leitzen.     He is a Dubuque police officer.                       24              MS. EINCK:    Not necessarily.
25              The folks in the Cedar Rapids office that we            25              THE COURT:    And when you say "not
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 1   practice with are -- the United States Attorney is                  1   necessarily," what might factor into whether that
 2   Pete Deegan.     The first assistant is Sean Berry.                 2   might influence it?
 3   Justin Lightfoot is our criminal chief.          Assistant          3              MS. EINCK:    I don't think I'm on.       Probably
 4   U.S. Attorney Ashley Corkery.        Assistant U.S.                 4   because, knowing her, I would trust in what she says.
 5   Attorney Marty McLaughlin.        Assistant U.S. Attorney           5              THE COURT:    Okay.     She's not in this case --
 6   Tony Morfitt.     Senior Litigation Counsel Rich Murphy.            6              MS. EINCK:    Right.
 7   Assistant U.S. Attorney Emily Nydle.          Senior                7              THE COURT:    -- and doesn't have anything to
 8   Litigation Counsel Pat Reinert.          Assistant -- or I          8   do with it.     You think that given that she has
 9   guess Civil Chief Jacob Schunk.          Assistant United           9   nothing to do with this case that you can set aside
10   States Attorney and Appellant Chief Mark Tremmel.                  10   what you know about Ms. Corkery and just decide the
11   Assistant United States Attorney Dan Tvedt.            And         11   case based on the facts?
12   Assistant United States Attorney Lisa Williams.                    12              MS. EINCK:    I could.
13              Did Your Honor wanted me to read the Sioux              13              THE COURT:    All right.     Thank you.
14   City attorneys as well?                                            14              Anybody else?
15              THE COURT:     Why don't you.                           15              All right.    Mr. Stevenson is represented by
16              MR. LAMMERS:     Oh.   And I'm sorry.   I forgot.       16   Attorney Cory Goldensoph.
17   We have a recent hire, Special Assistant U.S.                      17              Mr. Goldensoph, could you introduce
18   Attorney Liz Dupuich.       She's here in the Cedar Rapids         18   yourself, your client, and other people you practice
19   office.                                                            19   with, please.
20              In the Sioux City office, our branch chief              20              MR. GOLDENSOPH:       Thank you, Your Honor.
21   is Tim Duax.     We have Assistant United States                   21              My name is Cory Goldensoph.       This is Michael
22   Attorney Forde Fairfield, Assistant United States                  22   Stevenson.    I'm actually -- I have a sole practician
23   Attorney Kevin Fletcher, Assistant United States                   23   job, but I share an office space with three attorneys
24   Attorney Shawn Wehde, Assistant United States                      24   who have their own practice:         Brian Johnson, John
25   Attorney Mikala Steenholdt, Assistant United States                25   Jacobsen, and Andy Wiezorek.         But that's the only
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 1   sort of -- Like I said, I'm not in practice with                         1   going to have one broad question for you.
 2   them.     I just share office space with them.          So --            2              Okay.    It looks like they've got your names
 3              THE COURT:    Very good.     Thank you,                       3   down, so you can put your arms down.          Here's my broad
 4   Mr. Goldensoph.                                                          4   question to the four of you who raised your hands:
 5              Do you know -- any of you believe you know                    5   Is there anything about that associate, the fact that
 6   Mr. Goldensoph, his client, or any of the people that                    6   you either have a close friend or a family member
 7   Mr. Goldensoph shares office space with?             If so,              7   that's involved in law enforcement, do you think,
 8   raise your hand.       Okay.     I see no hands.                         8   that would impair in any way your ability to be fair
 9              All right.    I'm going to lead -- read off to                9   and impartial to both sides in this case?          If so,
10   you now a list of names.          These are people who are              10   raise your hand.
11   either going to testify in this trial or whose names                    11              Okay.    And, Ms. Einck.   Thank you.    First of
12   may come up in the course of the trial.             And we're           12   all, there's no right or wrong answers here.          And so
13   looking for the same thing, just to find out if, by                     13   I'm very glad that you raised your hand if you have
14   chance, you might know any of these people.                             14   any concerns at all.       So tell me about this.     Do you
15              And so Adam Williams, Chad Leitzen, John                     15   think -- First of all, who do you know or who's
16   Walgren, Eric Steve, Colin Kelly, David Haupert.                        16   associated with law enforcement?
17   "Haupert," I suppose.          H-A-U-P-E-R-T.     Emily Nelson,         17              MS. EINCK:    I have a nephew that is a police
18   Gary Pape, Heidi Woodyard, Orville Berbano, Jeremy                      18   officer right here in Cedar Rapids.
19   Slight, Justin Harris.          Michael [sic] Catellier, a              19              THE COURT:    Okay.
20   doctor.     Shannon Scholtes, William Bower, and Sade                   20              MS. EINCK:    I've heard many of the stories,
21   Pointer.                                                                21   a lot of them drug-related.        Also, I -- we have two
22              Do any of you jurors believe that you know                   22   good friends in our county that we have just
23   any of the people whose names I just read off?                If        23   discussed drugs.
24   so, raise your hand, please.          Okay.     I see no hands.         24              THE COURT:    Okay.   I think what you're going
25              All right.    By a show of hands, are any of                 25   to hear in this case is that this activity ultimately
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 1   you currently working in any type of law enforcement                     1   took place in the Dubuque area.          And so it's not
 2   capacity?     And by that, I want to be very broad.                So    2   going to be Cedar Rapids.        Cedar Rapids police are
 3   a sworn peace officer, certainly, but also anybody                       3   not going to be involved in this.
 4   involved in the corrections system, anybody who is                       4              Will that allow you to set aside whatever
 5   in -- working as a military police officer, even in                      5   you know about, you know, local activity here and
 6   the National Guard on a part-time basis, anybody that                    6   decide this case on the facts or do you think that
 7   works in a security setting or security field either                     7   it's going to influence your ability to do that?
 8   for a private company or for some                                        8              MS. EINCK:    I am familiar with Dubuque.        My
 9   government-associated company.          If so, raise your                9   son lived there for four years.          So I'm familiar with
10   hand.                                                                   10   it.     I just -- It could be a deciding factor.       I
11              Okay.    Thank you for paying attention, but                 11   don't -- I can't say right now, not hearing any more,
12   we won't ask you any questions back there unless you                    12   that it isn't.
13   get pulled up here.       Thank you.     All right.     I see no        13              THE COURT:    Sure.   Here's the deal.    In
14   hands up front here.                                                    14   these cases, when we come in as jurors, we can't set
15              All right.    I want to broaden this out now                 15   aside everything you've ever seen or heard or know in
16   to not just you, but any of your close family                           16   life and completely forget about it, but you have to
17   members.     So siblings, parents, children, close                      17   be able to mentally set it aside as a juror.
18   cousins or close friends, somebody you consider to be                   18              And you have to look at just the evidence in
19   a close friend working in a law enforcement capacity.                   19   the case.     And so if it's not presented from the
20   And if so, raise your hand.          And keep your hand up              20   stand or you don't have an exhibit, you can't take
21   for a little bit.                                                       21   into account what you think you may have heard from
22              Okay.    I'm not going to ask you any                        22   somebody else telling you something in the past.
23   questions right off, but keep your hands up.             I want         23              You have to look at just the evidence in the
24   to make sure the lawyers can take down your names.                      24   case.     And you have to judge all witnesses the same.
25   They may have follow-up questions of you.             I'm just          25   It doesn't matter whether they're a law enforcement
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 1   officer or not.     You have to look at their testimony,         1   Mr. Thompson, if you could take the microphone to Ms.
 2   you have to weigh it on what you think about how                 2   Taylor here in the front row.
 3   they're testifying, whether you think they're telling            3            All right, Ms. Taylor.     I'm going to ask you
 4   the truth.                                                       4   a series of questions.     And I'm going to ask the same
 5           You have to compare it to the other evidence             5   questions of everybody else who raised their hands
 6   to see if it matches up with everything else you                 6   who served on juries.
 7   believe in the case.     And you have to treat all               7            First of all, was this in Federal court or
 8   witnesses the same, whether they're law enforcement              8   State court?
 9   officers or not.                                                 9            MS. TAYLOR:    State.
10           Now, some jurors can do that, and some                  10            THE COURT:    And was it a criminal case or a
11   people just, frankly, can't.       And so where do you          11   civil case?
12   think you sit in that?     Can you set aside these              12            MS. TAYLOR:    Criminal.
13   things you know and the friendships you have and just           13            THE COURT:    Did the jury reach a verdict?
14   decide this case based on the facts or do you think             14            MS. TAYLOR:    Yes.
15   your friendship with people involved in law                     15            THE COURT:    And what was the verdict?
16   enforcement is going to influence your ability to do            16            MS. TAYLOR:    Guilty.
17   that.                                                           17            THE COURT:    And did you serve as the
18           MS. EINCK:     I'll try.                                18   foreperson on the jury?
19           THE COURT:     Do you think you can do it?              19            MS. TAYLOR:    I was the extra.
20           MS. EINCK:     I don't know if I can do it.             20            THE COURT:    You were the alternate?
21   Yeah.                                                           21            MS. TAYLOR:    Yes.
22           THE COURT:     All right.     But you're going to       22            THE COURT:    All right.   And so did you
23   try?                                                            23   actually sit through the deliberation process, then?
24           MS. EINCK:     I'll try.                                24            MS. TAYLOR:    No.
25           THE COURT:     Okay.     All right.    The lawyers      25            THE COURT:    All right.   All right.    Let's
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 1   may have some follow-up questions of you yet, but                1   move the microphone, then, back to Ms. Benda?        I'm
 2   we'll move on.                                                   2   sorry.   Right next to you, sir.       Perfect.
 3           All right.     Does anybody in this group up             3            Ms. Benda, you served on a jury as well?
 4   front, if you have -- do you currently have or have              4            MS. BENDA:    Yes.
 5   you had a serious dispute with the Federal                       5            THE COURT:    Was this in Federal or State
 6   government?     It may be the IRS audited you or USDA --         6   court?
 7   you have a dispute with them over farmland or                    7            MS. BENDA:    Federal.
 8   something like that.                                             8            THE COURT:    And was it a criminal case or
 9           Anybody currently have or have you in the                9   civil?
10   past had a serious dispute with the Federal                     10            MS. BENDA:    Criminal.
11   government?     If so, raise your hand.       I see no hands.   11            THE COURT:    And -- Well, let's talk about
12           Have any of you had a remarkably positive               12   the difference.
13   experience with law enforcement officers or                     13            MS. BENDA:    Yes.
14   remarkably bad experience with law enforcement                  14            THE COURT:    A criminal case is where the
15   officers that, again, you think, knowing that we're             15   Government is on one side and if the defendant -- the
16   going to have law enforcement officers testifying --            16   question for the jury is whether the defendant's
17   and this is a criminal case -- that you just know               17   guilty or not guilty of committing a crime.
18   that, either way, it's going to influence your                  18            A civil case, the Government could be on one
19   ability to be fair and impartial in this case?          If      19   side or the other.     But a civil case is between two
20   so, raise your hand.     Okay.    I see no hands.               20   parties usually looking for some type of financial
21           All right.     By a show of hands, who of you           21   compensation for damages done or injuries suffered,
22   have previously served on a jury?       And keep your           22   something like that.
23   hands up.     If your arms get tired, feel free to              23            So do you think your case was a criminal
24   switch out hands.                                               24   case or a civil case?
25           All right.     You can put your hands down.             25            MS. BENDA:    Criminal.
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 1            THE COURT:     And did you reach a verdict as a        1              MS. BECKLEY:     We didn't give them much, but
 2   jury?                                                           2   we gave them something.
 3            MS. BENDA:     Yes.                                    3              THE COURT:     All right.     And did you serve as
 4            THE COURT:     And what was the verdict?               4   the foreperson?
 5            MS. BENDA:     Guilty.                                 5              MS. BECKLEY:     I did not.
 6            THE COURT:     And did you serve as the                6              THE COURT:     Okay.     Do you remember the judge
 7   foreperson?                                                     7   in that case talking about the burden of proof being
 8            MS. BENDA:     No.                                     8   by the preponderance of the evidence?
 9            THE COURT:     Okay.     Can you do me a favor?        9              MS. BECKLEY:     Yes, I did.
10   Can you assure the rest of the people on this panel            10              THE COURT:     And do you remember the judge
11   who have not served as jurors that you'll actually             11   may have described it as just slightly more than the
12   live through the process?                                      12   other side.    And if one side just barely tips the
13            MS. BENDA:     Yeah.     I did.                       13   scales, then that side that tips the scales wins.             Do
14            THE COURT:     All right.     What did you think      14   you remember that description?
15   was an important attribute of being a good juror?              15              MS. BECKLEY:     Yes, I do.
16            MS. BENDA:     I guess just listening to              16              THE COURT:     All right.     We're going to talk
17   everything that was said.                                      17   about the different standards that applies in a
18            THE COURT:     All right.     Thank you very much.    18   criminal case here in a little bit.          So --
19            Let's move the microphone right behind you            19              MS. BECKLEY:     Okay.
20   to Ms. "Franic"?                                               20              THE COURT:     What did you think was important
21            MS. FRANCIK:     Francik.                             21   as a juror?
22            THE COURT:     Francik.     Thank you.     Ms.        22              MS. BECKLEY:     Well, as I told you in the
23   Francik, was your jury Federal or State?                       23   sidebar, I worked as a court attendant.          And I know
24            MS. FRANCIK:     State.                               24   that it's very important that people serve on juries
25            THE COURT:     And was it a criminal or civil         25   when they're called upon.         And you need to listen to
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 1   case?                                                           1   both sides and come to your conclusions with your --
 2            MS. FRANCIK:     Criminal.                             2   support with the rest of the jury.
 3            THE COURT:     Did you reach a verdict?                3              THE COURT:     All right.     Thank you so much.
 4            MS. FRANCIK:     Yes.                                  4              If you could pass the microphone next to you
 5            THE COURT:     And what was the verdict?               5   to Mr. Hansen.
 6            MS. FRANCIK:     Guilty.                               6              Mr. Hansen, was yours in Federal or State
 7            THE COURT:     Did you serve as the foreperson?        7   court?
 8            MS. FRANCIK:     No.                                   8              MR. HANSEN:     There were two separate
 9            THE COURT:     What did you think was a good           9   occasions.    One was -- Well, they were both State,
10   attribute of jurors?                                           10   but one was criminal and one was civil.
11            MS. FRANCIK:     I guess listening to both            11              THE COURT:     Oh, we have an experienced juror
12   sides.                                                         12   here.    You're almost a professional.
13            THE COURT:     All right.     Thank you.              13              MR. HANSEN:     Let's not go there.
14            If you could get the microphone to                    14              THE COURT:     And -- All right.     And so let's
15   Mr. Thompson, then.                                            15   talk about the criminal case.          Did you reach a
16            And, Mr. Thompson, let's start on the -- Ms.          16   verdict?
17   Beckley here on the right, on the far end.                     17              MR. HANSEN:     Yes, we did.
18            Ms. Beckley, was your case a Federal or               18              THE COURT:     And what was the verdict?
19   State case?                                                    19              MR. HANSEN:     Guilty.
20            MS. BECKLEY:     State.                               20              THE COURT:     And did you serve as the
21            THE COURT:     Criminal or civil?                     21   foreperson?
22            MS. BECKLEY:     Civil.                               22              MR. HANSEN:     I did not.
23            THE COURT:     Did you reach a verdict?               23              THE COURT:     And on the civil case, did you
24            MS. BECKLEY:     We did.                              24   reach a verdict?
25            THE COURT:     And what was the verdict?              25              MR. HANSEN:     That one got -- I don't know
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 1   how you call it.     It was ended -- Our service was          1   Ask questions if you have -- if you're not sure of
 2   ended after three days, I believe it was.       They went     2   something.
 3   to settlement procedures.                                     3              THE COURT:     All right.     If you could pass
 4           THE COURT:     Okay.     And so they settled the      4   the microphone back to Mr. Thompson, then.
 5   case without your help?                                       5              And did I miss anybody who has served on a
 6           MR. HANSEN:     Yep.                                  6   jury?    All right.      I don't see any hands.
 7           THE COURT:     And so what did you think was          7              All right.     Have any of you served as a
 8   important as a -- to be a good juror?                         8   witness in a case aside from family law matters?                So
 9           MR. HANSEN:     Just -- Despite your past             9   I'm not interested in a divorce or a child custody
10   experience or things you've been exposed to, just            10   proceeding or something like that.             But on either a
11   keep an open mind.                                           11   civil or criminal case, have any of you served as a
12           THE COURT:     Great.     Thank you so much.         12   witness?
13           If you could hand the microphone right               13              And so keep your hands up, if you would.
14   behind you to Ms. Forney.                                    14   I'm going to have the lawyers -- so they can take
15           And, Ms. Forney, was yours in State or               15   down your names.        I'm just going to have one
16   Federal court?                                               16   question, probably, for the three of you.
17           MS. FORNEY:     State.                               17              All right.     It looks like they got you.
18           THE COURT:     And criminal or civil?                18   Here's my broad question:          Anything about having
19           MS. FORNEY:     Criminal.                            19   served as a witness in those cases that you think
20           THE COURT:     Did you reach a verdict?              20   would make it difficult for you to be a fair and
21           MS. FORNEY:     No.     We were a hung jury.         21   impartial juror in this case?          If so, raise your
22           THE COURT:     All right.     And how long ago was   22   hand.    All right.      None of the three raised their
23   this?                                                        23   hands.     Thank you.
24           MS. FORNEY:     I'm 40.     I was 18 at the time.    24              Do any of you know each other or, by chance,
25   So 22 years ago.                                             25   are related to each other in this panel up here in
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 1           THE COURT:     Okay.     And did you serve as the     1   front?     There's one down front here.
 2   foreperson?                                                   2              Okay.    Mr. Thompson -- Ms. Mooney, is it?
 3           MS. FORNEY:     No.                                   3              MS. MOONEY:     Yes.
 4           THE COURT:     What did you think was important       4              THE COURT:     Ms. Mooney, who do you know?
 5   as a juror?                                                   5              MS. MOONEY:     Nancy Einck.
 6           MS. FORNEY:     Both keeping an open mind and         6              THE COURT:     Okay.     Ms. Einck?
 7   listening and paying attention to what was being said         7              MS. EINCK:     Hi.     I'm sorry.
 8   by both parties.                                              8              THE COURT:     Oh, right there.       Okay.   Here's
 9           THE COURT:     All right.     Thank you so much.      9   the question I have for you, Ms. Mooney, then.             If
10           If you could pass the microphone down two            10   you and Ms. Einck ended up on the same jury back
11   people to Ms. Ihnen.                                         11   there, would you be able to make up your own mind and
12           MS. IHNEN:     "Ihnen."                              12   be firm about what you believed or do you think your
13           THE COURT:     "Ihnen."     Ms. Ihnen, was yours     13   friendship with Ms. Einck, if she thought something
14   in Federal or State court?                                   14   different from you, you think that that would
15           MS. IHNEN:     State.                                15   influence the way you decide the case?
16           THE COURT:     And criminal or civil?                16              MS. MOONEY:     I could make up my own mind.
17           MS. IHNEN:     Criminal.                             17              THE COURT:     All right.     And if you could
18           THE COURT:     Did you reach a verdict?              18   hand the microphone back to Ms. Einck.
19           MS. IHNEN:     Guilty.                               19              And I have the same question for you, Ms.
20           THE COURT:     And did you serve as the              20   Einck.     Do you think that you could make up your own
21   foreperson?                                                  21   mind and be firm about it or do you think you would
22           MS. IHNEN:     No.                                   22   be influenced by what Ms. Mooney thinks?
23           THE COURT:     What did you think was important      23              MS. EINCK:     I can make up my own mind.
24   to be a good juror?                                          24              THE COURT:     Very good.     Thank you.
25           MS. IHNEN:     Just try and keep an open mind.       25              Anybody else?        All right.
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 1              All right.    Let's talk about the burden of       1              And so it's important here that you
 2   proof.     In a criminal case, the burden of proof is by      2   understand that Mr. Stevenson is afforded the
 3   what's called beyond a reasonable doubt.       And I will,    3   presumption of innocence.        Even though the Government
 4   when I give you the law in this case at the beginning         4   has accused him of a crime, in our system of justice,
 5   of the trial, define in more precise terms what               5   he is presumed to be innocent until and unless the
 6   beyond a reasonable doubt is.                                 6   Government can prove his guilt by proof beyond a
 7              But the Government has to prove each element       7   reasonable doubt.
 8   of each offense by proof beyond a reasonable doubt.           8              And the fact that he's been accused of
 9   And it doesn't mean proof beyond all doubt, but it            9   something doesn't mean anything.        So as I look at
10   means proof beyond a reasonable doubt.       And I will      10   Mr. Stevenson right now, I see an innocent man.           He
11   define it for you.                                           11   remains innocent all the way through this trial
12              And you're going to have to follow my             12   and until and unless the Government can prove his
13   instructions when I define it for you, but here's my         13   guilt beyond a reasonable doubt.
14   concern.     I'm guessing you all have watched crime         14              Now, if I asked any of you right now, "Look
15   shows on TV and watched movies about crime and you've        15   at Mr. Stevenson.     Do you think he's guilty or not
16   read in papers about criminal law.       And you might       16   guilty?"     Most of you would probably have the natural
17   have already formed an opinion about what you think          17   reaction of saying, "Well, I don't know.         I haven't
18   about that burden of proof.                                  18   seen any evidence yet."
19              Some of you might think that that burden of       19              And that seems like a commonsense reaction.
20   proof is too high and that we ought to have a lower          20   It would be wrong.     Because if I've told you that he
21   burden of proof, the Government should only have to          21   is presumed innocent, you have to be able to look at
22   prove it by a preponderance of the evidence, perhaps.        22   Mr. Stevenson right now and say, "I see an innocent
23              Or maybe some of you think just the               23   man."   And he will remain innocent until and unless
24   opposite.     Maybe some of you think that the burden of     24   the Government can prove his guilt beyond a
25   proof is too low and the Government has to prove its         25   reasonable doubt.
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 1   case beyond all possible doubt whether it's                   1              Now, that's kind of a tough thing to do
 2   reasonable doubt or not.                                      2   sometimes.     And some people have a difficult time
 3              Do any of you feel like you've had -- you          3   doing that.     But if you are chosen to be jurors in
 4   have a belief regarding the burden of proof in this           4   this case, you have to be able to do that.
 5   case that is either one of those, that you feel that          5              You have to be able to start off this trial
 6   it's too high or too low?       If so, raise your hand.       6   recognizing that Mr. Stevenson is innocent and he's
 7   Okay.    So I see no hands.                                   7   presumed to be innocent all the way through trial
 8              You heard that Mr. Stevenson was charged by        8   until you go back to the jury room, and only then, if
 9   way of an indictment, which is simply a charging              9   you conclude that the Government has, in fact, proven
10   document returned by a grand jury.       The United States   10   his guilt on one or more of the charges with evidence
11   Constitution requires that before a person can be            11   beyond a reasonable doubt.
12   charged with a felony offense in the Federal system          12              Do any of you think you would have
13   that a group of citizens randomly pulled from the            13   difficulty affording Mr. Stevenson the full benefit
14   community serving as grand jurors have to determine          14   of the presumption of innocence in this case?         If so,
15   if there's probable cause to believe that the person         15   raise your hand.     Okay.     I see no hands.
16   committed a crime.                                           16              You will notice that Mr. Stevenson is
17              But an indictment is simply an accusation.        17   African American.     And there are a few people of
18   So the Government, through this process of the grand         18   color in this courtroom.        And so I want to talk about
19   jury, has accused Mr. Stevenson of committing a              19   that for a little bit.
20   crime, but it's not proof of anything.       And the grand   20              When I worked out in Washington, D.C., my
21   jury most certainly did not decide whether the               21   best friend was an African-American lawyer.         And one
22   indictment should be brought or the charge or                22   time his wife invited me over to a surprise birthday
23   accusation should be made by proof beyond a                  23   party for Monty.     And so I went over to his house and
24   reasonable doubt.       They simply decided by probable      24   showed up.     And I found out that I was the only white
25   cause, a low standard.                                       25   person at this party.        And I realized, for the first
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 1   time, what it must be like to be a person that has a       1   about his religious beliefs or national origin or
 2   race different from the majority of everybody else         2   anything else and just decide the case on the facts?
 3   there.                                                     3   If so, raise your hand, please.      Okay.     I see no
 4              And as I walked around the party and talked     4   hands.
 5   to people, I realized that they probably made              5             The Fifth Amendment to the United States
 6   assumptions about me based on the color of my skin.        6   Constitution guarantees that people accused of a
 7   They probably assumed I had certain inherent               7   crime have the right to remain silent.         And that
 8   political beliefs or had some type of upbringing or        8   right continues with them all the way through a
 9   background simply because of the color of my skin.         9   trial.
10   And I realized that's just very natural for us to         10             And so in this case, Mr. Stevenson has the
11   make those assumptions.                                   11   constitutional right to remain silent.         Now, he may
12              And so we all do that.   We all make           12   testify in this trial or he may not.         I don't know
13   assumptions based on people's appearance and the          13   what he'll do.    But if he chooses not to testify,
14   color of their skin and their gender and everything       14   jurors cannot hold that against him in any way.           In
15   else.     And we make those assumptions based on our      15   fact, you cannot even discuss it back in the jury
16   experiences in life.                                      16   room.
17              There's nothing wrong with that.   But as      17             I teach part-time at the law school.       And in
18   jurors, it's incredibly important that we base our        18   one of my classes, sometimes we talk about the Fifth
19   decisions on the facts and not on somebody's race or      19   Amendment right to remain silent.      And I will go to
20   gender or religious beliefs or national origin, only      20   the chalkboard and I'll ask the students to start
21   on the facts of the case.                                 21   calling out to me different reasons why somebody
22              You know, when we see images of Lady           22   might not testify that has absolutely nothing to do
23   Justice, she has got the scales in one hand and the       23   with whether they're guilty or not guilty.
24   sword.     And if you notice, she's got a blindfold on.   24             And somebody will say, "Well, maybe they
25   And the reason she has a blindfold on is because          25   have a speech impediment."    Another person:       "English
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 1   justice is supposed to be blind to anything like           1   is a second language."    Another person may say,
 2   those matters that -- of race and gender and               2   "Well, they get frightened speaking in public and
 3   religious beliefs and so forth.                            3   they'll start being really nervous and sweating, and
 4              Now, if you are chosen to serve as jurors in    4   it will make them look guilty."
 5   this case, I'm going to be asking you to do three          5             And we'll go on and on.    And I could fill a
 6   things:     One, recognize that you probably have some     6   chalkboard with all the reasons why somebody might
 7   inherent views about race, about other people.             7   not testify that has absolutely nothing to do with
 8              Number two is recognize that you have to set    8   whether they're guilty or not guilty of the offense.
 9   that aside and decide the case based only on the           9             If you are selected to be jurors in this
10   facts of this case.     And I guarantee you that          10   case, you have to be able to set aside any of your
11   Mr. Stevenson's race or religious beliefs or national     11   own thoughts about what you would do if you were
12   origin will have nothing to do with the facts of this     12   accused of a crime and you were innocent.
13   case and whether the Government can prove their case      13             And you have to allow Mr. Stevenson and
14   beyond a reasonable doubt.                                14   afford him the full benefit of the Fifth Amendment
15              And then, ultimately, you have to decide       15   right to remain silent if he choices not to testify
16   this case based only on the facts and on the law as I     16   in this case.    And you can't read anything into it.
17   give it to you.     Now again, we all have come from      17   You can't think it proves anything.
18   different backgrounds.     Doing that might be easy for   18             You have to decide the case based on the
19   some people.     It might be very difficult or            19   evidence that is presented and not speculate about
20   impossible for other people to set aside those            20   what isn't presented or why it wasn't presented and
21   viewpoints.                                               21   not take that into account in any way.
22              And so do any of you believe that you would    22             Would any of you think you would have
23   have difficulty setting aside any views and deciding      23   difficulty doing that and affording Mr. Stevenson the
24   this case based only on the facts and putting aside       24   full benefit of the Fifth Amendment right to remain
25   anything about Mr. Stevenson's race or anything else      25   silent?   If so, raise your hand, please.        Okay.    I
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 1   see no hands.                                                    1             THE COURT:     All right.    Do you recognize
 2           You've heard that this case involves drugs               2   that Congress, representing the people of the United
 3   and heroin.     And drugs are prevalent in our society.          3   States, has concluded otherwise and that it is -- at
 4   It has an impact on a lot of people.       It may have had       4   least right now the law that all drugs aren't
 5   impact on you or your loved ones or people that you              5   legalized?     Do you recognize that?
 6   know.                                                            6             MR. MORLING:     I do.
 7           And let me tell you, first of all, this is               7             THE COURT:     All right.    And if I told that
 8   not a case about whether drugs are good or not.          It's    8   was the law and you have to follow it, could you do
 9   not a referendum on drugs.       This is a case, again,          9   that or do you think your views on drugs are so
10   where the Government has accused Mr. Stevenson of               10   strong that if you went back to the jury room, you
11   specific acts on specific dates.       And the jury is          11   would vote to acquit simply because you disagreed
12   going to listen to evidence and see if the Government           12   with the law?
13   can prove that the defendant committed specific acts            13             MR. MORLING:     I would be very uncomfortable
14   on certain dates.     That's what this case is about.           14   with potentially handing down a guilty verdict based
15           And so even though you might be against                 15   on something that I view as not being immoral or
16   drugs and you might have a feeling that drugs have              16   wrong.
17   affected somebody you know or love, you have to be              17             THE COURT:     All right.    Do you think that
18   able to set aside that and just decide this case                18   you could do it or do you just think that you
19   based on whether the Government can actually prove              19   wouldn't be able to -- Even if the Government proved
20   what they've accused Mr. Stevenson of.                          20   the case and you went and you said, "Yep, they proved
21           Do any of you think that just because this              21   that on these dates the defendant did these acts with
22   is a drug case that it's going to make it so you                22   this state of mind, I find it beyond a reasonable
23   can't be a fair and impartial juror and decide the              23   doubt, I'm still going to acquit because I just think
24   case on the facts of this case?       If so, raise your         24   it's wrong."
25   hand, please.     All right.    I see no hands.                 25             MR. MORLING:     I would follow the law in this
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 1           There is a movement afoot among society                  1   instance.
 2   right now to try to legalize some drugs, including               2             THE COURT:     You would?
 3   marijuana.    Now, this case is not about marijuana,             3             MR. MORLING:     I would.
 4   but some of you might have strong views about drugs              4             THE COURT:     All right.    Thank you.   Anybody
 5   and maybe they need to be legalized.       That would            5   else?
 6   solve all the problems if we'd just legalize drugs               6             All right.     They say that a good
 7   and regulate them like we do alcohol or something                7   characteristic of judges is that they are impartial,
 8   like that.                                                       8   that they can wait patiently to hear all the evidence
 9           If you serve as jurors in this case, you                 9   before they make up their mind, that they will follow
10   have to follow the law as I give it to you.       And the       10   the law whether they agree with the law or not, and
11   law, as I give it to you, will tell you that it is              11   that they will be fair and impartial to both sides in
12   illegal to distribute drugs and conspire to                     12   a case.
13   distribute drugs.     So whether you think it ought to          13             Well, those same attributes that make a good
14   be legalized or not, you have to be able to follow              14   judge also make a good juror.         A good juror keeps an
15   the law as I give it to you.                                    15   open mind, listens to all the evidence, and doesn't
16           Do any of you think you'd have difficulty               16   try to make up their mind after the first witness and
17   doing that because you feel strongly that the laws              17   the second witness or the third witness but waits
18   against drugs and drug distribution are wrong?                  18   until all the evidence is in and the lawyers have
19   Anybody feel like -- that way?       If so, raise your          19   argued the case to the jury and they went back and
20   hand.                                                           20   they talked to their fellow jurors before they
21           All right.     And Mr. Morling?                         21   started making up their minds about what the verdict
22           MR. MORLING:     Yes.                                   22   ought to be, and that they are fair and impartial to
23           THE COURT:     Do you feel like all drugs ought         23   both sides deciding the case just based on the facts
24   to be legalized or just certain drugs?                          24   and that they follow the law as given to them by the
25           MR. MORLING:     I would say all drugs.                 25   judge whether they agree with it or not.
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 1              With that description of a good juror, do                1   that there aren't folks who are saying, "No, I don't
 2   any of you think that -- knowing what you do about                  2   have an opinion" or "I can follow the law in regards
 3   yourself -- you just can't live up to that kind of                  3   to this as instructed, but I really think
 4   standard and you would have difficulty serving as a                 4   legalization is the way we need to be going as a
 5   good juror in this case?       If so, raise your hand.              5   society."
 6   Okay.     I see no hands.                                           6           And is there anybody who feels that, for
 7              All right.     Is there any other thing -- You           7   example, marijuana should be legalized, knowing that
 8   all know yourself better than anybody else does.             And    8   it's something like, what, 28 states now or maybe
 9   I've tried to ask some broad questions here, but                    9   even more that either decriminalized or legalized it?
10   there may be something that you already know about                 10   Is there anybody that thinks we should be going down
11   yourself and your background and your beliefs that                 11   that road in the state of Iowa?       A fair number of
12   you know that would impair your ability to be a fair               12   you.
13   and impartial juror in this case, and if you were                  13           Okay.     In knowing that -- And I'm not going
14   just asked the right question, you would raise your                14   to -- not going to pick on people here, but knowing
15   hand and give that out.                                            15   that this is not a marijuana case, this is a heroin
16              So now I'm going to ask just a broad                    16   case and a crack cocaine case, is there anyone who
17   question.     Is there anything about you or your                  17   feels that we should be going down the road towards
18   background or your beliefs that any of you believe                 18   legalization of heroin and crack cocaine?
19   would impair your ability to be a fair and impartial               19           Yes, sir.     I think we've covered that one.
20   juror in any way?       If so, raise your hand.     Okay.     I    20   I'm not going to ask you any follow-up questions in
21   see no hands.                                                      21   regard to it.
22              All right.     Mr. Lammers, you may now                 22           Anyone else?     I just want to make sure that
23   question the jury.                                                 23   those folks who think that marijuana should be
24              MR. LAMMERS:     Thank you, Your Honor.    Is           24   legalized for any reason or no reason or you just
25   this working?     Testing.    Okay.   Thanks.                      25   think that maybe that's the way to go, that that's
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 1              Good morning.                                            1   not going -- there's not going to be a spillover into
 2              PROSPECTIVE JURORS:     Good morning.                    2   other types of substances, into other types of drugs.
 3              MR. LAMMERS:     We're very fortunate today in           3           Can everybody commit that they will follow
 4   the fact that Judge Williams did the voir dire this                 4   the law as the judge instructs you if the law is that
 5   morning.     He covered a lot of the topics that I                  5   the trafficking in these substances or conspiring to
 6   intended to cover.       I want to follow up on a couple            6   traffic in these substances is illegal?       Okay.    Thank
 7   of things.                                                          7   you.
 8              And I'm probably going to try to keep this               8           Who, by a show of hands here, watches CSI or
 9   as short as I can, but there's a couple of concepts                 9   Law & Order or any other of those sort of crime
10   that I want to go over as well.          And I may have a          10   procedural shows at one point or another?       May not be
11   couple of specific questions for some folks.                       11   regular viewers, but I assume everybody has seen one
12              If I do, I'm not trying to pry.       I'm not           12   of those types of shows.
13   trying to embarrass anyone, but there's some things                13           Who, by a show of hands, has heard the
14   that you may have answered on your questionnaires                  14   expression, "Well, that's circumstantial evidence"?
15   that I may follow up on as well.                                   15           All right.     I am going to sort of pick on a
16              So first of all, as Judge Williams said,                16   couple of people here.
17   this is -- obviously, it's a drug case.          It involves       17           Ms. Hotchkiss?     Okay.   I'm going to ask you
18   heroin.     It involves crack cocaine.       And again, as         18   a couple of questions in regards to that.       And I --
19   Judge Williams said, drugs are prevalent in society.               19   Up in the back.    You've heard the expression, "That's
20              Thank you for your candor in regards to -- I            20   circumstantial."
21   guess I'd call it the Libertarian perspective in                   21           MS. HOTCHKISS:     Yeah.   Yes.
22   regards to -- in regards to drugs.          But I want to          22           MR. LAMMERS:     What do you think that means
23   delve a little bit more into that.                                 23   when you hear that in context, that phrase?
24              I want to make sure that there's not -- I               24           MS. HOTCHKISS:     That it is -- You just put
25   guess what I'm looking for is I want to make sure                  25   me on the spot, that I just went -- Yeah, I lost what
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 1   I thought it meant.                                            1              MR. LAMMERS:     That's circumstantial
 2            MR. LAMMERS:     Okay.                                2   evidence; right?
 3            MS. HOTCHKISS:     Yeah.                              3              MS. HOTCHKISS:     Yes.
 4            MR. LAMMERS:     Let me see if I can make a           4              MR. LAMMERS:     So you can draw a conclusion
 5   suggestion.                                                    5   based on the circumstances, even if somebody didn't
 6            MS. HOTCHKISS:     Sure.                              6   see it.
 7            MR. LAMMERS:     You hear it sort of in a --          7              MS. HOTCHKISS:     Yes.
 8   generally in a way that makes it sound like it's not           8              MR. LAMMERS:     Would you be able to do that
 9   as important or that, well, you can't rely on that             9   in a trial today or the next few days?            If you didn't
10   evidence.     That's just circumstantial.                     10   necessarily have an eyewitness but you had some
11            MS. HOTCHKISS:     No.     No.   Actually, I would   11   circumstances that pointed to a conclusion, could you
12   say that it is something that the evidence -- it              12   draw a conclusion from that?
13   could be applied to something -- it -- There could be         13              MS. HOTCHKISS:     Uh-huh.     Yes.
14   other reasons that that evidence -- Actually, I just          14              MR. LAMMERS:     Now, I'm not asking you to
15   lost it again what I'm trying to say.                         15   predict whether or not --
16            MR. LAMMERS:     Sure.                               16              MS. HOTCHKISS:     Right.
17            MS. HOTCHKISS:     Yeah.                             17              MR. LAMMERS:     -- I'm going to have enough
18            MR. LAMMERS:     And I'm not trying to put           18   evidence.
19   anybody on the spot here.                                     19              MS. HOTCHKISS:     Sure.
20            MS. HOTCHKISS:     Yeah.                             20              MR. LAMMERS:     Because, obviously, you
21            MR. LAMMERS:     So circumstantial evidence,         21   haven't heard everything yet.          I'm just saying, can
22   generally defined, is sort of the circumstances               22   you listen to and accept that type of evidence and
23   around the event can point to a conclusion.                   23   put that in your calculation?
24            MS. HOTCHKISS:     Yes.                              24              MS. HOTCHKISS:     Yes.
25            MR. LAMMERS:     Right?     So instead of somebody   25              MR. LAMMERS:     Anybody not be able to do
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 1   necessarily watching that event occurring, you could           1   that?     Anybody that says, "Look, if I don't have a
 2   see potentially the results of that event and draw a           2   videotape or if I don't have an audiotape or if I
 3   conclusion --                                                  3   don't have an eyewitness, I can't come to a
 4            MS. HOTCHKISS:     Uh-huh.                            4   conclusion"?
 5            MR. LAMMERS:     -- from that.                        5              Hang on a second.        We will talk to you in
 6            MS. HOTCHKISS:     Okay.                              6   just a minute.     Is it Ms. Morris?
 7            MR. LAMMERS:     Okay?                                7              MS. MORRIS:    Yes.
 8            MS. HOTCHKISS:     Yep.                               8              MR. LAMMERS:     Okay.
 9            MR. LAMMERS:     And I'll see if I can                9              MS. MORRIS:    Thank you.
10   illustrate this with a hypothetical.         It's a little    10              MR. LAMMERS:     Go ahead.
11   bit ridiculous, but I think most people sort of see           11              MS. MORRIS:    I would have a difficult time
12   it.   Do you have a vehicle?                                  12   casting my doubt against someone without firm witness
13            MS. HOTCHKISS:     I do.                             13   or a firm knowledge of what happened.            Circumstantial
14            MR. LAMMERS:     Do you ever wash your vehicle?      14   to me is -- I would be scared of being wrong.
15            MS. HOTCHKISS:     Yes.                              15              MR. LAMMERS:     Sure.     And I think a lot of
16            MR. LAMMERS:     Ever come out to your car or        16   people -- Because we all sort of think of it that
17   your -- whatever your vehicle is after it's been              17   way, especially when we hear that expression about
18   freshly washed and see that there's some droppings on         18   how, oh, it's circumstantial or it's not as
19   the vehicle?                                                  19   important.     But we draw conclusions all the time in
20            MS. HOTCHKISS:     Yes.                              20   our daily life; right?
21            MR. LAMMERS:     Okay.     Now, if you didn't see    21              MS. MORRIS:    Yes, we do.
22   the bird that flew over but you saw the results of it         22              MR. LAMMERS:     You know, if you are driving
23   after you come out and see your car, are you able to          23   down the road, you ever get a rock chip in your
24   draw a conclusion about what happened?                        24   windshield?
25            MS. HOTCHKISS:     Yes.                              25              MS. MORRIS:    Sure.
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 1              MR. LAMMERS:     Yeah.     It's going so fast you        1   "Listen, if I don't have somebody who says that they
 2   don't see the rock.                                                 2   saw it or a videotape or an audiotape, I just can't
 3              MS. MORRIS:     Uh-huh.                                  3   make that decision."
 4              MR. LAMMERS:     But you'd draw a conclusion as          4              Knowing that, do you feel -- still feel the
 5   to how the chip got there; right?                                   5   same way?
 6              MS. MORRIS:     Yes.                                     6              MS. MORRIS:    Yes, I do.
 7              MR. LAMMERS:     Okay.     So that's what I'm            7              MR. LAMMERS:    Okay.    Thank you very much.
 8   asking.                                                             8              So is it Ms. "Freetag"?
 9              MS. MORRIS:     Uh-huh.                                  9              MS. FREITAG:    Freitag.
10              MR. LAMMERS:     Could you consider that type           10              MR. LAMMERS:    Freitag.    If you were asked --
11   of evidence, maybe in conjunction with other                       11   If you were to sit on this jury and you were asked
12   evidence, and reach a conclusion?                                  12   to -- if you had two competing views of what
13              MS. MORRIS:     Maybe.                                  13   occurred, would you be able to make a determination
14              MR. LAMMERS:     Yeah.     Because if it's --           14   as to which one you felt you believed?
15              MS. MORRIS:     It's very hard to me in a case          15              Again, don't -- not knowing upfront.      You
16   where it's involving someone's life.                               16   don't know what the evidence is going to be.         You
17              MR. LAMMERS:     Sure.                                  17   don't know what you're going to hear.        But you hear
18              MS. MORRIS:     That's hard for me to equate            18   two competing views.      One of them has to be what
19   with a chip in my windshield.                                      19   happened.
20              MR. LAMMERS:     Absolutely.     And I used the         20              MS. FREITAG:    Yes.
21   hypotheticals, obviously, as just a way to illustrate              21              MR. LAMMERS:    Would you be able to make a
22   the concept.        I don't mean to make light of it or be         22   determination?
23   flip about it.        This is an important thing.       And,       23              MS. FREITAG:    Yes.
24   obviously, you're all taking it seriously.             And         24              MR. LAMMERS:    What kind of things would you
25   that's important as well.         So --                            25   look at?    Now, what kind of things would you want to
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 1              And I hate to do it, but I'm going to give               1   know in order to determine which competing view you
 2   you another hypothetical.         And this is for the entire        2   could believe?
 3   jury.     Right.     So let's say that we have a sealed             3              MS. FREITAG:    I mean, like what happened --
 4   box.     Okay.     And the box has a lid.     And the lid is        4              MR. LAMMERS:    Sure.
 5   the only way into the box.          All right?     Inside the       5              MS. FREITAG:    -- you know.    I mean, the
 6   box, there's a cat.        The cat's living.       It's not --      6   evidence behind it.
 7   We're not killing the cat in this scenario.                         7              MR. LAMMERS:    Yep.    You'd want to know the
 8              The cat is alive.        The cat is in the box.          8   facts.
 9   Okay?     Open the lid, the cat stays in the box.             In    9              MS. FREITAG:    Where it's coming from.
10   goes a mouse.        Put the lid back down.      Come back 20      10              MR. LAMMERS:    Yeah.
11   seconds later, you open the lid of the box.             Inside     11              MS. FREITAG:    Who it's coming from.
12   the box, there's a cat.        No more mouse.       Anybody        12              MR. LAMMERS:    Yeah.    You'd want to know who
13   know -- doubt where that mouse went?                               13   it's coming from.     That's an interesting point.         So
14              By a show of hands, is there anybody who                14   you'd want to know who's telling you what you know?
15   says, "Boy, I just don't know what happened to that                15              MS. FREITAG:    Yes.
16   mouse"?     That's what I'm trying to illustrate with              16              MR. LAMMERS:    Would you want to know if they
17   the circumstantial evidence.                                       17   had some criminal history in their background?
18              Obviously, you didn't see it.         You weren't       18              MS. FREITAG:    Yes.
19   in the box.        I'm wondering if people could draw a            19              MR. LAMMERS:    Would you want to know if they
20   conclusion based upon circumstances surrounding an                 20   may have been a cooperating witness?        In other words,
21   event.     Now, that was pretty cut and dried.                     21   they're hoping to receive something based on their
22              MS. MORRIS:     Uh-huh.                                 22   cooperation.
23              MR. LAMMERS:     And you have to decide one             23              MS. FREITAG:    Yes.
24   based on different factors.          I get that.     I just want   24              MR. LAMMERS:    It doesn't mean they're not
25   to make sure that I don't have somebody who says,                  25   believable.    But it just means that's something you
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 1   would want to factor in.     Would that be fair to say?            1   hands.
 2            MS. FREITAG:     Absolutely.                              2             So Judge Williams instructed you a little
 3            MR. LAMMERS:     Okay.    I will tell you, you            3   bit, and appropriately so, in regards to the -- you
 4   will hear from cooperating witnesses in this case.                 4   know, the circumstances that are surrounding this
 5   You will hear from people who either have been                     5   case, the fact that the defendant is an African
 6   charged with a crime and are hoping not to continue                6   American.     I just want to make sure that there's --
 7   with that -- or to not -- or to get out of that                    7   There's a flip side to the coin.       I want to make sure
 8   charge or potentially that they may be paid for some               8   that I'm not going to be held to a higher burden of
 9   of their assistance to law enforcement.          You're going      9   proof because the defendant is an African American.
10   to hear those folks.                                              10             In other words, I want to make sure that, as
11            Will you be able to listen to their                      11   jurors, you don't say, "Well, listen.       Judge Williams
12   testimony and fairly evaluate their testimony?                    12   was right.     We have to carefully evaluate our biases.
13            MS. FREITAG:     Yes.                                    13   And in so doing, I'm going to -- I'm going to make it
14            MR. LAMMERS:     Is there anyone who says,               14   even tougher on the United States.
15   "Whoa.   Wait a second.    Hold on.     The Government's          15             "I'm going to hold them -- Just to make sure
16   using a paid informant here or the Government's using             16   that I'm being fair, just to make sure that I'm doing
17   people that are working off charges?          Nope.     I don't   17   everything that I can do to try and root out those
18   need to hear any more.     I cannot rely on that, and             18   biases, I'm going to hold the Government to even a
19   I'm not going to believe it."        By a show of hands,          19   higher burden of proof."
20   anybody have that view?                                           20             Is there anyone that would hold me to a
21            So what kind of other things might you want              21   standard above the standard of beyond a reasonable
22   to -- might you want to know in determining, you                  22   doubt because of the defendant's race?       I mean, we
23   know, which view of the evidence is appropriate?                  23   all want to prove that we are absolutely going to be
24            MS. FREITAG:     I mean, I would want to hear            24   color blind and fair to everyone.       So I want to make
25   both sides.                                                       25   sure, knowing that, that that doesn't mean that my
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 1            MR. LAMMERS:     Right.                                   1   case got tougher.
 2            MS. FREITAG:     It's important.                          2             I've had a number of jury trials.     And I've
 3            MR. LAMMERS:     You -- Would you want to know            3   had a couple of them where I've had jurors that will
 4   if what the evidence -- or what you're hearing is                  4   say, at some point, "I'm sorry" -- And it's been
 5   consistent with other evidence that you've heard --                5   after we've gotten through the process.       "I'm sorry,
 6            MS. FREITAG:     Yes.                                     6   but I can't sit in judgment over someone else.
 7            MR. LAMMERS:     -- or what you knew?         In other    7   That's not my role.      That's the role of God.   I don't
 8   words, if it's corroborated by something else?                     8   believe that I should sit in judgment."
 9            MS. FREITAG:     Yes.                                     9             That's okay.    There are many devout people
10            MR. LAMMERS:     That would be a factor you              10   in our country.     And that's fine.    But it might mean
11   would take into consideration?                                    11   that you're not a perfect juror for this particular
12            MS. FREITAG:     Yes.                                    12   case or for a case on -- a criminal case.
13            MR. LAMMERS:     Okay.    And again -- And I want        13             Is there anybody who says "I can't sit in
14   to -- I want to be very clear here.          You're going to      14   judgment over someone else?"
15   be hearing folks -- You're going to be hearing from               15             So I want to focus on one other thing that
16   folks who are drug addicts, who have used heroin, who             16   Judge Williams talked about, and then I'm going to do
17   have used crack cocaine, who have had their lives                 17   another of my hypotheticals with someone, and then
18   affected by their drug use.        You're going to be             18   I'm going to sit down.
19   hearing from folks who have been charged.             You're      19             But Judge Williams appropriately told you
20   going to hear -- be hearing from folks that are                   20   about the burden of proof.      And he appropriately told
21   cooperators.                                                      21   you that the defendant is presumed innocent.       The
22            Can everybody give those kind of witnesses a             22   defendant is presumed innocent as he sits here now.
23   fair shake?    Is there anybody who says, "All right.             23   Absolutely innocent.
24   I'll try to be fair, but boy, I'm really going to                 24             But there's a -- there is a "unless and
25   have a hard time with it"?        Anybody?    By a show of        25   until."     And unless and until means once you have
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 1   heard the evidence and have determined -- assuming                 1   Usually by some sort of really sophisticated
 2   that you do, determined that I have proved the case                2   scientific test or, you know, there's some sort of
 3   to you or the Government has proved the case to you                3   a -- you know, they have some sort of satellite
 4   beyond a reasonable doubt, is there anyone who would               4   imagery that watched what happened and they were able
 5   say, "Sorry.    I just can't -- I can't be in that                 5   to tap into that particular satellite.           Or they have
 6   position of" --                                                    6   some sort of, you know, phosphorescent footprint that
 7           And I think, ma'am, you sort of alluded to                 7   lead from the crime scene or some sort of just
 8   it a little bit, you know, because it affects someone              8   way-out-there technology; right?
 9   else's life.    It's a super hard decision to make.                9            MS. GERARD:    Uh-huh.
10           Is there anybody who says, "Gee, I just                   10            MR. LAMMERS:    I'm stating it sort of broadly
11   can't do that"?     Even if -- even if it's -- we get to          11   for effect here, but they rely a lot on really
12   that point, unless and until, just can't do it.             Not   12   advanced technology in those kind of cases.
13   something I'm comfortable with.       Don't want to be put        13            MS. GERARD:    Uh-huh.
14   in that position.     Anybody?                                    14            MR. LAMMERS:    Would it surprise you to know
15           MS. EINCK:     I find it very uncomfortable.              15   that most cases aren't like that?
16           MR. LAMMERS:     Yeah.     And I -- If it makes           16            MS. GERARD:    Not at all.
17   you feel any better, I don't think there's anybody                17            MR. LAMMERS:    Do I have to prove my case by
18   who sits on a jury who doesn't feel --                            18   that kind of method?     Do I have to bring in some
19           MS. EINCK:     I agree.                                   19   drone video or some satellite imagery and prove my
20           MR. LAMMERS:     -- a little bit uncomfortable.           20   case to you to that level?
21           MS. EINCK:     I agree.                                   21            MS. GERARD:    No.
22           MR. LAMMERS:     Can you put that aside, put              22            MR. LAMMERS:    Okay.     Anybody think that I
23   your discomfort aside, follow the law that the Judge              23   have to do that?     All right.     Thank you.
24   gives you, and make that hard decision if --                      24            So I want to just touch base just very
25           MS. EINCK:     The only thing I can --                    25   briefly on reasonable doubt.        And I want to talk
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 1           MR. LAMMERS:     -- unless and until happens --            1   about reasonable doubt.       And the Judge is going to
 2           COURT REPORTER:        I need one at a time.               2   instruct you, and you need to follow the law in
 3   Please start that question again.                                  3   regard to reasonable doubt.
 4           MR. LAMMERS:     Sure.     If we get to the unless         4            But the Judge said something that is -- I
 5   and until and prove the case beyond a reasonable                   5   think is particularly important.        He mentioned that
 6   doubt, can you make that hard decision?                            6   the standard of reasonable doubt is not beyond all
 7           MS. EINCK:     I'll try.                                   7   doubt.   And I want to do a quick demonstration, if I
 8           MR. LAMMERS:     It's a tough thing to do.          I      8   could.
 9   understand.    Anyone else?                                        9            So anybody want to volunteer to be my guinea
10           I forgot.     So we're going to go back to the            10   pig for this hypothetical?        Yeah, I didn't figure
11   TV shows for a second, the CSI shows.       By a show of          11   anybody would.     So I'm just going to pick somebody.
12   hands, who watches those again?       I'm going to go in          12   Mr. Stelken.     Since you're seated right in my line of
13   the back.                                                         13   view, I'm going to pick you for this.
14           And Ms. Gerard?                                           14            So let's say, Mr. Stelken, that there was a
15           MS. GERARD:     Yep.                                      15   rash of people that were trying to sneak in and get
16           MR. LAMMERS:     Which ones do you watch?                 16   on juror duty because they just found the concept so
17           MS. GERARD:     Criminal Minds, NCIS.                     17   exciting that they wanted to participate.
18           MR. LAMMERS:     Okay.     Do you like them?              18            So as attorneys and the Court, we decide,
19           MS. GERARD:     Yeah.                                     19   you know, we've got to -- we've got to stop that.
20           MR. LAMMERS:     They're enjoyable?                       20   We've got to make sure that the people who are
21           MS. GERARD:     (Indicating by nodding.)                  21   sitting here in the box are actually the people that
22           MR. LAMMERS:     Every episode of those, how do           22   we called.
23   they end?                                                         23            So let's say that we're going to go through
24           MS. GERARD:     They find the solution.                   24   this exercise.     And I would say to you, "Mr. Stelken,
25           MR. LAMMERS:     They find the solution.                  25   we have people that are trying to sneak on to juror
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 1   duty.     And we want to prevent that.       So I want to          1   do I?
 2   make sure that you are who you say you are."                       2              MR. STELKEN:    No.
 3              If I asked you to prove that you were, in               3              MR. LAMMERS:    Do I have to prove my case to
 4   fact, Mr. Stelken, how would you do that?                          4   anyone on the panel to the level of beyond all doubt?
 5              MR. STELKEN:     An ID.                                 5   By a show of hands.       Anybody?       All right.   I don't
 6              MR. LAMMERS:     An ID.     I will tell you that        6   have anything else.
 7   of the times that I have asked this question in the                7              I just want to make sure, ladies and
 8   hypothetical, every single person that I've asked                  8   gentlemen, if there's anything that you think that we
 9   said that first.     Usually they either say driver's              9   should know prior -- or I should know as an attorney
10   license or ID.                                                    10   for the United States about your ability to be fair
11              All right.     So I'm going to just kind of            11   to both sides in this, now's the time.            Anything at
12   make a brief list here.       And I'll put ID on the first        12   all that you think, "Hey, I've got a concern or a
13   one.     Let's say that I were particularly skeptical             13   qualm" or "I've got some question; I better raise
14   today.     And I said to you, "I'm sure that you are who          14   it."    Anybody?
15   you say you are, Mr. Stelken, but I want -- I just                15              Ms. Beckley.
16   want to double-check, you know.          Sometimes there's        16              MS. BECKLEY:    Yes.     I didn't know this case
17   fake IDs."                                                        17   was involving something in Dubuque.            And I'm from
18              What else could you do to provide proof that           18   Dubuque.     And having worked in the court system there
19   you were who you said?                                            19   for eight or nine years, I'm concerned that someone
20              MR. STELKEN:     Ask someone -- Excuse me.       Ask   20   may come in that I will recognize but I did not know
21   someone that I know to confirm to you who I am.                   21   their name when the judge read the names.             I do not
22              MR. LAMMERS:     Bring in a witness; right?            22   recognize the detective from Dubuque, but I wouldn't
23   And again, commonly noted, but usually -- I will tell             23   know what to say if somebody came in and I knew them.
24   you, you're an exception here because most people go              24              MR. LAMMERS:    Okay.        And you didn't
25   to number two.     They say other form of ID.       And then      25   recognize -- I will tell you that some of the names
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 1   usually it's three or four where we get to witness,                1   that the Judge read are law officers.            You didn't
 2   but -- Great.     Let's say witness.                               2   recognize any of those names?
 3              Let's say I tell you again, "Yep.        I'm sure       3              MS. BECKLEY:    I did not.        But I did not know
 4   you are who you say you are, but I just want to                    4   the names of most officers there, but so many were
 5   double-check."     What else could you do?                         5   involved in cases.     And I would recognize their face.
 6              MR. STELKEN:     I'm not sure.                          6              MR. LAMMERS:    Okay.        And if the judge were
 7              MR. LAMMERS:     Okay.    Well, I'll supply a           7   to instruct you that you should treat their testimony
 8   suggestion.     Maybe some other type of identification            8   as you treat any other witness's testimony, would you
 9   that you might have besides a driver's license or --               9   be able to do that?
10   You could bring that in as well; right?                           10              MS. BECKLEY:    Yes, I would.
11              MR. STELKEN:     (Indicating by nodding.)              11              MR. LAMMERS:    Thank you.
12              MR. LAMMERS:     So now, I may well be                 12              MS. BECKLEY:    Yeah.
13   convinced that you are who you say you are; right?                13              MR. LAMMERS:    Anything else?        Anybody else
14   Right here at the ID, I may well say, "Yep.          That's       14   have anything that they think we need to -- we need
15   all I need to know."       All right?                             15   to talk about?
16              But at some point as you go down that list,            16              Is it Ms. Stephenson?
17   at some point it's no longer reasonable to doubt that             17              MS. STEPHENSON:       Yes.
18   you are Mr. Stelken; right?                                       18              MR. LAMMERS:    Okay.
19              MR. STELKEN:     Correct.                              19              MS. STEPHENSON:       My brother is -- Sorry.        My
20              MR. LAMMERS:     Okay.    If I had to prove my         20   brother is a park ranger in Sherrill, Iowa, and gets
21   case to you beyond all doubt, I would have to have a              21   called to assist with Dubuque police officers
22   videotape of you being born and video of you every                22   sometimes.     I don't think it will affect anything.              I
23   second of every day until you walked into this                    23   just thought I needed to bring it up.
24   courtroom.     That's beyond all doubt, isn't it?       Now,      24              MR. LAMMERS:    Sure.        I appreciate that.    Do
25   I don't have to prove my case to you to that level,               25   you know any of the Dubuque officers?
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 1              MS. STEPHENSON:        No.                              1   opinions and not talk to anybody about this case or
 2              MR. LAMMERS:        Did you recognize any of the        2   anything about anybody with it.
 3   names?                                                             3              If you are out in the hallway during this
 4              MS. STEPHENSON:        No.                              4   break and one of the parties or the lawyers passes by
 5              MR. LAMMERS:        Anything about the fact that        5   you, they're going to walk right by you and probably
 6   your brother is a park ranger that would lead you to               6   not even look at you.       And if you said "Hello" to
 7   be somehow either more partial to law enforcement or               7   them, they wouldn't respond.
 8   maybe doubt law enforcement because you and your                   8              And it's not because we have a bunch of rude
 9   brother, you know --                                               9   lawyers and parties.       It's because they know it's
10              MS. STEPHENSON:        No.                             10   important that we have -- not only that we have
11              MR. LAMMERS:        -- fight now and then?             11   justice but the appearance of justice.
12              MS. STEPHENSON:        We don't even talk about        12              And if someone were to see you talking with
13   it.                                                               13   one of the lawyers, even if you were just talking
14              MR. LAMMERS:        Fair enough.     Thank you.        14   about the weather, somebody might think you were
15   Appreciate it.                                                    15   actually talking about the case and may presume
16              Anything else, folks?                                  16   something bad about your fairness as jurors.
17              Yes, ma'am.     It's -- Is it "Loan" or Lown?          17              And so during the break, if you happen to
18              MS. LOWN:     Lown.                                    18   run into lawyers or the parties, don't hold it
19              MR. LAMMERS:        Lown.                              19   against them if they are not social with you.          They
20              MS. LOWN:     Yeah.     I just want to confirm         20   know that they are not to have any contact with you
21   that all the names that were listed are from -- like              21   outside of the courtroom.
22   those people are from Dubuque and not residing in                 22              And so we will be on a 15-minute break.
23   Cedar Rapids?                                                     23   It's now 10:40.     And so we'll be on break for 15
24              MR. LAMMERS:        I don't believe that any of        24   minutes.     And so the jury is excused.      Hang on just a
25   them reside in Cedar Rapids.                                      25   second.
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 1              MS. LOWN:     Okay.     One of the names just           1              All right.     And when you leave the courtroom
 2   sounds familiar, but she's living in Cedar Rapids, as              2   here, before you come back in the courtroom, please
 3   far as I know.                                                     3   line up outside in the quorum before you come back
 4              MR. LAMMERS:        All right.     And which name is    4   in.     You don't have to line up in the same order.
 5   that?                                                              5   But just wait outside until we come get you outside
 6              MS. LOWN:     Emily Nelson.                             6   to bring you back in the courtroom.
 7              MR. LAMMERS:        Yeah.    I can tell you that the    7              All right.     So we will be in recess.
 8   Emily Nelson that we're talking about lives now in                 8              THE CLERK:     All rise.
 9   Dubuque.                                                           9              (Prospective jurors exit.)
10              MS. LOWN:     Okay.                                    10              THE COURT:     Please be seated.
11              MR. LAMMERS:        Does that change anything?         11              Mr. Lammers, anything we need to take up
12              MS. LOWN:     No.                                      12   during this break?
13              MR. LAMMERS:        Okay.    Your Honor, I have        13              MR. LAMMERS:     I don't believe so, Your
14   nothing further.       Thank you.                                 14   Honor.     Thank you.
15              THE COURT:     Do you pass for cause?                  15              THE COURT:     Mr. Goldensoph?
16              MR. LAMMERS:        I do, yeah.                        16              MR. GOLDENSOPH:     No, Judge.
17              THE COURT:     All right.        Ladies and            17              THE COURT:     All right.   Very good.    We'll
18   gentlemen, we're going to take our morning break now.             18   see you in 15 minutes.
19   I promised you a morning break.             We're going to take   19              (Recessed 10:42 a.m.; resumed 11:02 a.m.)
20   that now.    We're going to take a 15-minute break.               20              THE CLERK:     All rise.
21              During this break, it's going to be                    21              THE COURT:     All right.   Are we ready for the
22   important that you not talk among yourselves or with              22   jury?
23   anybody else about this case.            You haven't even been    23              MR. GOLDENSOPH:     Yes.
24   selected yet as jurors.          You haven't seen any             24              THE COURT:     All right.   Just so we have an
25   evidence.    And so I don't want you to formulate any             25   understanding of where we're going, as soon as Mr.
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 1   Goldensoph is done with his voir dire, my intent                        1              MR. GOLDENSOPH:     How is everyone today?
 2   would be to then put the jury on break.             We'll               2              MS. BECKLEY:   Wonderful.
 3   exercise our peremptory strikes.          We'll have the jury           3              MR. GOLDENSOPH:     Everybody is thrilled to be
 4   brought back in and, if there's enough time, as I                       4   in juror duty; right?      Let me guess.        You guys are
 5   think there will be, we'll go ahead and read the                        5   just disappointed that it's not a four-week-long jury
 6   instructions to the jury before we take our lunch                       6   trial like Judge Williams had mentioned earlier.
 7   break.     And then when we come back from lunch, we'll                 7              I get it.   I understand.      Everybody -- the
 8   launch into opening statements.          All right?                     8   inconveniences that are placed on everybody when you
 9              MR. LAMMERS:     Yes, Your Honor.        One                 9   come here to serve as jurors.
10   question, if I may.       After you've excused the jury,               10              But having been a practicing trial attorney
11   can we have like five minutes to organize our notes?                   11   for 17 years, I've come to appreciate not only the
12              THE COURT:     I suppose.     Yes.                          12   burdens that are placed on everybody who's in my
13              MR. LAMMERS:     Well, I will do --                         13   jury, but just how important it is for our system of
14              THE COURT:     Of course.                                   14   justice.    And for all those reasons, I really do
15              MR. LAMMERS:     -- it however you choose,                  15   appreciate and thank you on behalf of myself and on
16   obviously.                                                             16   behalf of Mr. Stevenson, because this trial clearly
17              THE COURT:     No, no.     Of course.     I'll give         17   is very important to Mr. Stevenson.          And so we do
18   you five to 10 minutes to organize your notes and                      18   appreciate it.
19   talk among yourselves to try to figure out what you                    19              So without further ado, you've already
20   want to do.     And let me know when you're ready.               And   20   been -- you've already filled out the questionnaires.
21   then we'll go ahead and exercise those strikes.                  I     21   Judge Williams already asked several questions.
22   was just being flippant with you, Mr. Lammers.                         22   Mr. Lammers has already asked several questions.               So
23              MR. LAMMERS:     Hey, man.     I understand.                23   I anticipate my portion of jury selection being
24              THE COURT:     Very good.     All right.       Anything     24   relatively brief.      So we can have that to look
25   else?                                                                  25   forward to, but I do have a few questions.            So --
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 1              MR. LAMMERS:     No.     Thank you.                          1              I am going to actually start off with
 2              THE COURT:     All right.     So we can bring in             2   Mr. Bodenstein [sic].      That's you, correct, sir?
 3   the jury now.                                                           3              MR. BODENSTEINER:     Yes.
 4              (Prospective jury enters.)                                   4              MR. GOLDENSOPH:     And when -- I think I
 5              THE COURT:     You-all feel free to sit down                 5   pronounced it incorrectly.
 6   whenever you want to.       We stand out of respect for                 6              MR. BODENSTEINER:     Bodensteiner.      Sorry.
 7   you, but you go ahead and feel free to sit down when                    7   Bodensteiner.
 8   you come in the courtroom.                                              8              MR. GOLDENSOPH:     Bodensteiner.      Okay.   Thank
 9              MS. BECKLEY:     Did somebody say all rise for               9   you for correcting me on that.          I'll wait until he
10   the jury?                                                              10   gets the microphone to you.
11              THE COURT:     Mr. Thompson did earlier this                11              Now, Mr. Bodensteiner, my job is to fight
12   morning.                                                               12   zealously or really, really hard for Mr. Stevenson.
13              MS. BECKLEY:     Okay.                                      13   In fact, I'm ethically obligated to do it.            The rules
14              THE COURT:     All right.     Please be seated.             14   of lawyer ethics require me to do that.
15              Thank you for all coming back from the                      15              Now, do you feel like you've got a pretty
16   break.     I actually had a jury selection one time,                   16   good understanding of what that means?
17   when we got back from our break, and I was missing a                   17              MR. BODENSTEINER:     To zealously or to --
18   juror.     So thank you for all coming back.                           18   your -- you defending him?
19              When we left off, the Government had                        19              MR. GOLDENSOPH:     Yeah.    Zealously with
20   finished asking questions.          It's now time for the              20   respect to fighting for him and whatnot.            Do you feel
21   defense to ask questions of you.                                       21   you've got a general idea of what that means?
22              And so, Mr. Goldensoph, you may proceed.                    22              MR. BODENSTEINER:     Not definitely.
23              MR. GOLDENSOPH:        Thank you, Your Honor.               23              MR. GOLDENSOPH:     Okay.    Sure.    Well, one of
24              Good morning, everyone.                                     24   the things it could mean -- and this is, I guess, the
25              PROSPECTIVE JURY:        Good morning.                      25   point I'm trying to get to.       We're going to have some
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 1   witnesses during this jury trial.          And I sometimes          1   they're embarrassed or something.          But, you know,
 2   have to ask some really tough questions, maybe even a               2   basically they make up something because they don't
 3   little bit embarrassing questions of those witnesses.               3   want the truth --
 4   And I'm ethically obligated to do that.           But --            4              MR. GOLDENSOPH:       Okay.
 5              Do you feel like you understand that?                    5              MR. ELZEY:    -- told.
 6              MR. BODENSTEINER:     Yes.                               6              MR. GOLDENSOPH:       It could be harmful to that
 7              MR. GOLDENSOPH:     Now, what I'm worried                7   person?
 8   about, though, is, you know, if I ask questions like                8              MR. ELZEY:    It could be, yeah.
 9   this of witnesses, that somebody might hold that                    9              MR. GOLDENSOPH:       Could a lie sometimes
10   against me.    "Why are you being so hard on that                  10   produce a favorable result for that person?
11   particular witness?"       That sort of thing.      Does that      11              MR. ELZEY:    Yeah.     Yeah, I would say so.
12   make sense?                                                        12              MR. GOLDENSOPH:       Do you think everybody
13              MR. BODENSTEINER:     Yes.                              13   lies?
14              MR. GOLDENSOPH:     So let me ask you this:        If   14              MR. ELZEY:    I think so, yeah.       I think, you
15   I do ask some difficult questions of some particular               15   know, to one extent or another.
16   witnesses, would you be able to not hold that against              16              MR. GOLDENSOPH:       So do you think there are
17   me or do you think it would be tough for you to do                 17   sometimes people who have really strong motivations
18   that?                                                              18   to lie?
19              MR. BODENSTEINER:     Sometimes you have to ask         19              MR. ELZEY:    I think so.      Like to -- Yeah,
20   difficult questions to get the real answers, the                   20   probably, you know, to, like, protect somebody else
21   answers you need.       So I wouldn't hold that against            21   or, you know, a monetary reason why or something like
22   you if -- understanding where your heart lies with                 22   that.     So, yeah.
23   that, I guess is the way to put it.                                23              MR. GOLDENSOPH:       Sure.   Now, if you're
24              MR. GOLDENSOPH:     Okay.     Cool.   Thank you.        24   chosen to be on this jury, do you feel like you would
25              Having heard that exchange, is there anyone             25   be able to identify a person's motivations to lie or
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 1   else here who feels like, "Man, that would be tough                 1   to tell the truth?       Do you think that would be
 2   for me to -- I would hold that against you"?           Is           2   something that you might be able to identify?
 3   there anybody who's sitting here that would think                   3              MR. ELZEY:    To a certain extent, depending
 4   like that at all?       All right.     I don't see any hands.       4   on how good a liar they were.
 5              So thank you, Mr. Bodenstein.                            5              MR. GOLDENSOPH:       Yeah.   Sure.
 6              So a question for the entire panel.         By a         6              Okay.    Is there anybody here who thinks it
 7   show of hands, has anyone here ever been lied to?                   7   would be really, really difficult to identify
 8              MS. BECKLEY:     Been what?                              8   somebody's motivations for lying?
 9              MR. GOLDENSOPH:     Been lied to.                        9              Thank you, sir.
10              MS. BECKLEY:     Lied to.                               10              So as the Judge said earlier, as
11              MR. GOLDENSOPH:     And follow-up question.             11   Mr. Stevenson sits here today right now, he's
12   Has anyone here ever told a lie?          Seeing most of the       12   innocent; right?       That's the presumption of innocence
13   hands, if not all the hands, go up.          I'm excited to        13   that Judge Williams talked about earlier.           And I'm
14   see that I have a panel of experts on lying.           So          14   just curious -- We're going to go to -- I'm sorry.
15   that's good to know.                                               15   I've got to look at my notes here.
16              I am going to pick on -- Who am I going to              16              Ms. Forney, this presumption of innocence --
17   pick on?    Mr. Elzey?     Did I pronounce that                    17   and you can wait to answer my question until you have
18   correctly --                                                       18   the microwave -- microphone, but this presumption of
19              MR. ELZEY:     Yes, you did.                            19   innocence, do you think that's fair?
20              MR. GOLDENSOPH:     -- sir?                             20              MS. FORNEY:    Yeah, because people are
21              MR. ELZEY:     That's correct.                          21   innocent until they're proven guilty by a court of
22              MR. GOLDENSOPH:     In your experience, why do          22   law.
23   people lie?                                                        23              MR. GOLDENSOPH:       And why do you think we
24              MR. ELZEY:     I would say either because they          24   have that?
25   don't want the truth, you know, revealed or maybe                  25              MS. FORNEY:    To be fair to the person being
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 1   charged with the crime.                                             1   their evidence.     And you sit through it all.        And --
 2              MR. GOLDENSOPH:      Sure.   Is it a big deal or         2   Well, let me rephrase that.        I apologize.
 3   little deal when somebody's charged with a crime?                   3             So I guess what I'm hearing from you now is
 4              MS. FORNEY:   It's a very big deal.                      4   that you're starting off with the position that
 5              MR. GOLDENSOPH:      Very big deal.    So do you         5   Mr. Stevenson needs to prove himself innocent?
 6   think that's why we have it?                                        6             MS. HOTCHKISS:    Yeah.     That's kind of how
 7              MS. FORNEY:   Yes.                                       7   it -- Yeah.    I mean, it's -- I know that's not what
 8              MR. GOLDENSOPH:      Okay.   Now, as you're              8   it's supposed to be.     And I would tell you that, no,
 9   sitting here, do you think you're able to do that?                  9   I know that that's not it.     And I would say that he's
10              MS. FORNEY:   I think between myself and my             10   innocent until proven guilty because I know that's
11   associates here, we would be able to come to an                    11   the right answer.
12   agreement.                                                         12             But I -- I've always sort of -- That's just
13              MR. GOLDENSOPH:      Well, I guess what I'm             13   kind of how I was brought up.        You know, even -- You
14   wondering, as you're sitting there right now, are you              14   know, I mean, as a child, that's just kind of how I
15   able to just presume Mr. Stevenson not guilty?                     15   was brought up.     You're -- You are accused of
16              MS. FORNEY:   I presume that he's innocent as           16   something, you're guilty until you've proved yourself
17   of right now.                                                      17   innocent -- until you're innocent.
18              MR. GOLDENSOPH:      Okay.   Great.   And the           18             MR. GOLDENSOPH:    Have you yourself ever been
19   reason why I bring it up is, you know, it's obviously              19   falsely accused of something?
20   very important, but, you know, sometimes it's tough                20             MS. HOTCHKISS:    Oh, sure.     Yeah.
21   for people to do that.                                             21             MR. GOLDENSOPH:    And if -- I don't know.
22              Well, he's sitting there in court.        He's          22   Maybe an example like when you're -- if you have
23   charged with a crime.       You know, that sort of thing;          23   siblings, maybe --
24   right?     And so I just bring that up to -- I mean, I'm           24             MS. HOTCHKISS:    Yes.
25   curious.     Is there anybody here in the panel                    25             MR. GOLDENSOPH:    -- one of your siblings
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 1   that's -- and it's perfectly natural, by the way.             Is    1   took a cookie and left crumbs and whatnot.           And your
 2   there anyone here who's having difficulty doing that?               2   mom thought, "Oh, it's you, isn't it"; right?
 3              Ms. Hotchkiss?                                           3             MS. HOTCHKISS:    (Indicating by nodding.)
 4              MS. HOTCHKISS:    Uh-huh.                                4             MR. GOLDENSOPH:    That's a different example
 5              MR. GOLDENSOPH:      So you're having some               5   than sitting here in court.
 6   difficulty with that.       Can you explain why?                    6             MS. HOTCHKISS:    Uh-huh.
 7              MS. HOTCHKISS:    I'd like to say that I don't           7             MR. GOLDENSOPH:    But can you understand why
 8   and that it's real easy for me to just presume                      8   it would be very important?
 9   innocent.     I know that's what I'm supposed to do.                9             MS. HOTCHKISS:    Absolutely.     Oh, absolutely.
10   But if I'm being totally honest, that's just --                    10   Yeah.    And I -- You know, I completely understand why
11   that's not my nature.       I automatically assume you're          11   that is absolutely the wrong position and why that's
12   probably guilty unless you prove yourself innocent.                12   why the system doesn't work that way.        And I
13   That's just sort of how I was brought up.                          13   completely understand that.
14              MR. GOLDENSOPH:      Okay.                              14             I just wanted to at least let you know right
15              MS. HOTCHKISS:    Truly that you're guilty              15   off the bat where my brain kind of goes immediately
16   until you -- until you're proven innocent.                         16   just sort of off the bat, kind of where I'm at there.
17              MR. GOLDENSOPH:      And let me just say, you           17             MR. GOLDENSOPH:    Sure.
18   said that "If I'm being honest."         And, frankly,             18             MS. HOTCHKISS:    I certainly can try to not
19   that's exactly what we want.         So I really, really           19   have that opinion and look at things objectively.
20   appreciate you saying that.                                        20   But I just want to at least kind of state that, I
21              MS. HOTCHKISS:    Yeah.                                 21   guess.
22              MR. GOLDENSOPH:      So as we sit here now --           22             MR. GOLDENSOPH:    Sure.
23   Well, let's assume you were selected for the jury.                 23             MS. HOTCHKISS:    Yeah.
24              MS. HOTCHKISS:    Uh-huh.                               24             MR. GOLDENSOPH:    Is it a feeling that you
25              MR. GOLDENSOPH:      And the Government presents        25   have that, as it stands now, that makes it so
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 1   difficult that you're just not going to be able to do                1              MR. GOLDENSOPH:       So you're one of the people
 2   it?                                                                  2   who thinks marriage is an important decision; is that
 3              MS. HOTCHKISS:         I don't think I -- I don't         3   right?
 4   know if I would say that.           It's just sort of -- it's        4              MS. DAVIS:    Yes.
 5   a knee-jerk reaction.                                                5              MR. GOLDENSOPH:       Just kidding.       So prior to
 6              MR. GOLDENSOPH:         Okay.                             6   getting married --
 7              MS. HOTCHKISS:         Just kind of a gut reaction.       7              MS. DAVIS:    Uh-huh.
 8   Kind of sort of a -- to -- that that's what I would                  8              MR. GOLDENSOPH:       Well, first of all, how
 9   say, you know.       That's just immediately what I would            9   long have you been married?
10   say.                                                                10              MS. DAVIS:    Oh, gosh.        Okay.    I've got to
11              And then I can step back and kind of go,                 11   think.
12   "Okay.     No.   We need to look at it."          But,              12              MR. GOLDENSOPH:       Do the math.
13   ultimately, that's kind of what my knee-jerk reaction               13              MS. DAVIS:    It's -- I know.          This will be
14   would have been.                                                    14   our seventh year.
15              MR. GOLDENSOPH:         Okay.   Thank you so much.       15              MR. GOLDENSOPH:       Okay.     And prior to getting
16   I appreciate it.                                                    16   married, were you engaged?         Dating?
17              MS. HOTCHKISS:         Yeah.                             17              MS. DAVIS:    Both.
18              MR. GOLDENSOPH:         Does anybody else feel like      18              MR. GOLDENSOPH:       Both.     And let me ask you
19   that at all?       Okay.   Not seeing any other hands.              19   this:     What was the span of time you were both dating
20              Okay.    So the Judge has already sort of                20   and engaged?
21   talked about the burden of proof and whatnot.              And      21              MS. DAVIS:    Three years.
22   that's something I think you'd find attorneys talk a                22              MR. GOLDENSOPH:       Three years.       Okay.   All
23   lot about during jury selection.             So I'm going to        23   right.     So pretty lengthy period of time; right?
24   talk about it myself.                                               24              MS. DAVIS:    Yep.
25              And I'm going to ask that the microphone go              25              MR. GOLDENSOPH:       Now, would you say in that
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 1   to Ms. Davis here.                                                   1   time that you were engaged, slash, dating that you
 2              Now, Ms. Davis, have you ever heard the                   2   learned a lot about your future spouse?
 3   phrase, prior to today, "proof beyond a reasonable                   3              MS. DAVIS:    Yes.
 4   doubt"?                                                              4              MR. GOLDENSOPH:       Did you meet his family?
 5              MS. DAVIS:      Yes.     Yes.                             5              MS. DAVIS:    Yes.
 6              MR. GOLDENSOPH:         And do you have any idea          6              MR. GOLDENSOPH:       Did you figure out what
 7   what that means?                                                     7   kind of work he had?
 8              MS. DAVIS:      I don't know.        That the material    8              MS. DAVIS:    Yes.
 9   given is showing that the person is either guilty or                 9              MR. GOLDENSOPH:       Did you learn, like, his
10   not guilty and there's not a glaring question on                    10   political views?
11   that.     It's very confident that this is how we should            11              MS. DAVIS:    Yes.     I pretty much interviewed
12   proceed.                                                            12   him.
13              MR. GOLDENSOPH:         That's actually a really         13              MR. GOLDENSOPH:       Oh.     So you interviewed
14   good definition.       I like that.        So I like to think       14   him.     So did you learn about, like, what his favorite
15   about it as it's just a very important decision that                15   sports car was?
16   the jurors get to make in this case.                                16              MS. DAVIS:    Yes.     Sort of.
17              And, you know, I always think about it like              17              MR. GOLDENSOPH:       "Yes.     Sort of."    What does
18   this:     The framers of the Constitution who put this              18   that mean?
19   in the Constitution must have thought that a jury                   19              MS. DAVIS:    I have a -- I don't think he
20   trial was a really big deal, a big decision.                        20   really likes sports cars, but if I were to ask him
21              And let me ask you this:          Have you yourself      21   which one, I think I could have a --
22   ever made any really big decisions in your life?                    22              MR. GOLDENSOPH:       Oh.
23              MS. DAVIS:      Yes.                                     23              MS. DAVIS:    -- good idea.
24              MR. GOLDENSOPH:         Like what?                       24              MR. GOLDENSOPH:       Sure.     Did you figure out
25              MS. DAVIS:      Marriage.                                25   what his favorite sports team was?
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 1             MS. DAVIS:     Yes.                                   1   things would you be looking for in this case to
 2             MR. GOLDENSOPH:       Did you figure out what his     2   determine whether or not he's guilty on everything or
 3   favorite meal was?                                              3   just the stuff that he admits to?
 4             MS. DAVIS:     Yes.                                   4              MS. STUDEBAKER:    I think you would have to
 5             MR. GOLDENSOPH:       You figured out a lot about     5   presume innocence on each count.          So if he said he
 6   this guy?                                                       6   was not guilty on some counts, we would have to then
 7             MS. DAVIS:     Uh-huh.                                7   look to the evidence.       And if the evidence pointed
 8             MR. GOLDENSOPH:       Now, did he propose to you      8   towards guilt, then I would think those counts were
 9   or did you propose to him?                                      9   guilt -- guilty.
10             MS. DAVIS:     He proposed to me.                    10              MR. GOLDENSOPH:    As you sit here now,
11             MR. GOLDENSOPH:       And so obviously you said      11   knowing what I've just said, are you -- do you feel
12   yes --                                                         12   like you'll be able to do that?
13             MS. DAVIS:     Uh-huh.                               13              MS. STUDEBAKER:    Yes.
14             MR. GOLDENSOPH:       -- right?                      14              MR. GOLDENSOPH:    And you understand that
15             So do you feel like you had gathered enough          15   there would be different circumstances for each
16   information from him prior to getting married to make          16   count; right?
17   this really big decision?                                      17              MS. STUDEBAKER:    Yes.
18             MS. DAVIS:     Yes.                                  18              MR. GOLDENSOPH:    Does anybody here -- Having
19             MR. GOLDENSOPH:       Now, the reason why I bring    19   heard that, does anybody here feel like they would
20   up this scenario is, again, this trial is a very big           20   have a difficult time of separating the different
21   decision.     And it requires -- Maybe, you know, we're        21   counts knowing that?       Everybody here would be able to
22   not going to learn about Mr. Stevenson's favorite              22   listen to each -- the evidence on each count and make
23   meal or anything like that, but it requires -- it's            23   that evaluation strictly based on that particular set
24   just as important of a decision.         It requires a lot     24   of circumstances, not based on what he says about a
25   of information.                                                25   different count?
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 1             And I like to bring up that example just to           1              Okay.    Well, I told you I was going to be
 2   emphasize the importance of the decision that you               2   kind of quick.       And like I said, most of the -- a lot
 3   need to make, because most people who haven't sat on            3   of the questions had already been asked.
 4   a jury before just really don't have a clue as to,              4              So, Your Honor, at this time, I'm going to
 5   you know, "What do I do here?"         "How big of a deal is    5   pass for cause.
 6   this?"    So --                                                 6              THE COURT:    Thank you.
 7             Thank you.     I just have one more short sort        7              All right.    Ladies and gentlemen, this is
 8   of brief thing here.       And I'm going to -- If I could       8   the point in the jury selection process I told you
 9   have the microphone brought down to Ms. Studebaker              9   about where we need to reduce your numbers from 29
10   down here.     She's right here.                               10   down to 13.
11             Ms. -- Am I pronouncing that correctly?              11              You guys aren't actually participating in
12             MS. STUDEBAKER:       Yep.                           12   that.     And we really don't need you during this time
13             MR. GOLDENSOPH:       Ms. Studebaker, I have a       13   period.     And I don't want you sitting there twiddling
14   confession.       I'm really, really nervous about             14   your thumbs.
15   something in this case.                                        15              So we're going to put you on break while the
16             During this trial, Mr. Stevenson's actually          16   lawyers exercise those strikes.          And when we're done,
17   going to admit to guilt for some of the counts.                17   we'll pull you back in here and announce it.          It
18   And -- but he's not going to admit to guilt on all of          18   usually takes 15 to 20 minutes or something like
19   them.    And so what I wanted to make sure is that --          19   that.
20   Well, let me ask you this:         If he admits to guilt on    20              And during that time, we're going to have
21   some of them, do you think he's necessarily guilty on          21   you step back into the jury -- there's actually two
22   everything?                                                    22   jury rooms back here through these doors.          And the
23             MS. STUDEBAKER:       No.                            23   court security officer will take you back there.
24             MR. GOLDENSOPH:       And under what                 24   You're free to relax for 15 or 20 minutes.          And when
25   circumstances would you think -- or what sort of               25   we're done with this process, we'll bring you back
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 1   in.                                                             1             MR. GOLDENSOPH:     Your Honor.
 2            For those of you in the back of the                    2             THE COURT:     I'm sorry?
 3   courtroom, we don't need your services anymore.                 3             MR. GOLDENSOPH:     The defendant's first.
 4   We've hit that point where we're not going to be                4             THE COURT:     I'm sorry.   Defendant's first.
 5   replacing anybody else up here.        We're just going to      5             The next one is Ms. Davis.
 6   strike some of the ones that we have.                           6             And, Mr. Lammers, does the Government
 7            And so you are all free to leave in the back           7   exercise a peremptory strike?
 8   of the courtroom.      Thank you for coming in here             8             MR. LAMMERS:     No, Your Honor.
 9   today.     It was important that you were here.       And we    9             THE COURT:     Mr. Goldensoph?
10   thank you for your service.                                    10             MR. GOLDENSOPH:     No, Your Honor.
11            The jurors -- prospective jurors up front,            11             THE COURT:     All right.   Ms. Davis is Juror
12   you are now excused to go back into the jury room              12   Number 1.
13   with the court security officer.                               13             The next one is Ms. Ihnen.
14            THE CLERK:     All rise.                              14             Mr. Goldensoph, do you exercise a peremptory
15            (Prospective jury exits.)                             15   strike?
16            THE COURT:     All right.   Please be seated.         16             MR. GOLDENSOPH:     Yes, Your Honor.
17            Before I give the lawyers some time to                17             THE COURT:     That would be the second by the
18   consult each other and their clients, Mr. Lammers,             18   defense.
19   any record need to be made regarding jury selection            19             And the next one is Mr. -- or yeah --
20   thus far?                                                      20   Mr. Bodensteiner.
21            MR. LAMMERS:     No, Your Honor.     Thank you.       21             Mr. Lammers, does the Government exercise a
22            THE COURT:     Mr. Goldensoph?                        22   strike?
23            MR. GOLDENSOPH:     No, Your Honor.                   23             MR. LAMMERS:     No, Your Honor.
24            THE COURT:     All right.   Go ahead and take         24             THE COURT:     Mr. Goldensoph?
25   some time, then.      And let me know when you are ready       25             MR. GOLDENSOPH:     No, Your Honor.
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 1   to proceed.                                                     1             THE COURT:     That's Juror 2.
 2            (Recessed 11:30 a.m.; resumed 11:39 a.m.)              2             The next one is Mr. [sic] Gerard -- I'm
 3            THE COURT:     Mr. Lammers, are you ready to           3   sorry -- Ms. Gerard.
 4   proceed?                                                        4             Mr. Goldensoph, do you exercise a peremptory
 5            MR. LAMMERS:     Yes, Your Honor.                      5   strike?
 6            THE COURT:     And Mr. Goldensoph?                     6             MR. GOLDENSOPH:     No, Your Honor.
 7            MR. GOLDENSOPH:     As ready as I'll ever be           7             THE COURT:     That's Juror -- I'm sorry.
 8   with this jury, Your Honor.                                     8             Mr. Lammers, do you exercise a peremptory
 9            THE COURT:     All right.   Very good.                 9   strike?
10            So we're going to start in the upper                  10             MR. LAMMERS:     No, Your Honor.
11   right-hand corner.      The first juror is Mr. Morling.        11             THE COURT:     That's Juror 3.
12            Mr. Lammers, is the Government exercising a           12             The next one is Ms. Hotchkiss.
13   peremptory strike?                                             13             Mr. Lammers, do you exercise a peremptory
14            MR. LAMMERS:     Yes, Your Honor.                     14   strike?
15            THE COURT:     Mr. Morling is gone.      That's       15             MR. LAMMERS:     No, Your Honor.
16   Government's first.                                            16             THE COURT:     Mr. Goldensoph?
17            The next juror is Ms. Forney.                         17             MR. GOLDENSOPH:     Yes, Your Honor.
18            Mr. Goldensoph, are you exercising a                  18             THE COURT:     Ms. Hotchkiss is gone.     And
19   peremptory strike?                                             19   that's the third by the defense.
20            MR. GOLDENSOPH:     Yes, Your Honor.      We are      20             The next one is Ms. Beckley.
21   going to exercise a strike.                                    21             Mr. Lammers, do you exercise a peremptory
22            THE COURT:     All right.   Ms. Forney is gone.       22   strike?     Or I'm sorry.
23   That's the defendant's second.                                 23             Mr. Goldensoph, do you exercise a peremptory
24            MR. GOLDENSOPH:     Your Honor.                       24   strike?
25            THE COURT:     The next one is Ms. Davis.             25             MR. GOLDENSOPH:     Excuse me.     Yes, Your
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 1   Honor.                                                          1            MR. GOLDENSOPH:     No, Your Honor.
 2             THE COURT:     That will be the defendant's           2            THE COURT:     Mr. Lammers?
 3   fourth.                                                         3            MR. LAMMERS:     Yes, Your Honor.
 4             The next one is Mr. Hansen.                           4            THE COURT:     That would be the Plaintiff's
 5             Mr. Lammers, do you exercise a peremptory?            5   third.
 6             MR. LAMMERS:     No, Your Honor.                      6            The next one is Ms. Stephenson up here in
 7             THE COURT:     Mr. Goldensoph?                        7   the front on the right-hand side.
 8             MR. GOLDENSOPH:     No, Your Honor.                   8            And, Mr. Lammers, does the Government
 9             THE COURT:     That's Juror Number 4.                 9   exercise a peremptory strike?
10             The next one is Ms. Gorter.                          10            MR. LAMMERS:     No, Your Honor.
11             Mr. Goldensoph, do you exercise a peremptory         11            THE COURT:     Mr. Goldensoph?
12   strike?                                                        12            MR. GOLDENSOPH:     No, Your Honor.
13             MR. GOLDENSOPH:     No, Your Honor.                  13            THE COURT:     That would be Juror Number 7.
14             THE COURT:     Mr. Lammers?                          14            The next one is Ms. Einck.
15             MR. LAMMERS:     No, Your Honor.                     15            And, Mr. Goldensoph, do you exercise a
16             THE COURT:     That's Juror Number 5.                16   peremptory strike?
17             The next one is Mr. "Maccan" -- Machande.            17            MR. GOLDENSOPH:     Yes, Your Honor.
18             Mr. -- let's see -- Goldensoph -- or                 18            THE COURT:     That would be the defendant's
19   Lammers -- Lammers, do you exercise a peremptory               19   sixth.
20   strike?                                                        20            Now the next one is Ms. Koch.
21             MR. LAMMERS:     No, Your Honor.                     21            And, Mr. Lammers, does the Government
22             THE COURT:     Mr. Goldensoph?                       22   exercise a peremptory strike?
23             MR. GOLDENSOPH:     Yes, Your Honor.                 23            MR. LAMMERS:     No, Your Honor.
24             THE COURT:     That would be the defendant's         24            THE COURT:     Mr. Goldensoph?
25   fifth.                                                         25            MR. GOLDENSOPH:     No, Your Honor.
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 1             The next one is Ms. -- or I'm sorry --                1            THE COURT:     That would be Juror Number 8.
 2   Mr. Stelken.                                                    2            The next one is Cheri Francik.
 3             Mr. Goldensoph, do you exercise a peremptory          3            And, Mr. Goldensoph, do you exercise a
 4   strike?                                                         4   peremptory strike?
 5             MR. GOLDENSOPH:     No, Your Honor.                   5            MR. GOLDENSOPH:     No, Your Honor.
 6             THE COURT:     Mr. Lammers?                           6            THE COURT:     Mr. Lammers?
 7             MR. LAMMERS:     I'm sorry.     Is it Mr. Stelken?    7            MR. LAMMERS:     No, Your Honor.
 8             THE COURT:     Stelken.                               8            THE COURT:     That would be Juror Number 9.
 9             MR. LAMMERS:     Yes.     No, Your Honor.             9            The next one is Ms. [sic] Elzey.
10             THE COURT:     That would be Juror Number 6.         10            And, Mr. Lammers, does the Government
11             The next one is Norris Rogers.                       11   exercise a peremptory strike?
12             And, Mr. Lammers, does the Government                12            MR. LAMMERS:     No, Your Honor.
13   exercise a peremptory strike?                                  13            THE COURT:     Mr. Goldensoph?
14             MR. LAMMERS:     Yes, Your Honor.                    14            MR. GOLDENSOPH:     No, Your Honor.
15             THE COURT:     That would be the Government's        15            THE COURT:     That's Juror Number 10.
16   second.                                                        16            The next one is on the second row from the
17             MR. GOLDENSOPH:     Your Honor, at this point,       17   front on the right-hand side, Mr. Smedley.
18   I would assert a Batson challenge.                             18            And, Mr. Goldensoph, do you exercise a
19             THE COURT:     We'll wait until we get through       19   peremptory strike?
20   with the rest of them.       You'll have a better record       20            MR. GOLDENSOPH:     Yes, Your Honor.
21   at that point.                                                 21            THE COURT:     That would be the defendant's
22             And so we will go on to the next one, which          22   seventh.
23   is Ms. -- Mr. Dietz at the end of the second row.              23            The next one is Ms. Benda.
24             And, Mr. Goldensoph, do you exercise a               24            And Mr. Gold- -- or I'm sorry -- Mr.
25   peremptory strike?                                             25   Lammers, do you exercise a peremptory strike?
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 1             MR. LAMMERS:     No, Your Honor.                    1              THE COURT:     That will be the plaintiff's
 2             THE COURT:     Mr. Goldensoph?                      2   sixth.
 3             MR. GOLDENSOPH:     Yes, Your Honor.                3              MR. LAMMERS:     Uh.
 4             THE COURT:     That would be the defendant's        4              THE COURT:     No.
 5   eighth.                                                       5              MR. GOLDENSOPH:        Yes.
 6             The next one is Mr. Holmes.                         6              MR. LAMMERS:     Yes.     Sixth.   Thank you.
 7             And, Mr. Goldensoph, do you exercise a              7              THE COURT:     All right.     And so I miscounted.
 8   preemptory strike?                                            8   And I think the defense has one more strike; is that
 9             MR. GOLDENSOPH:     Yes, Your Honor.                9   right?     No.
10             THE COURT:     That would be the defendant's       10              THE CLERK:     No.
11   ninth.                                                       11              THE COURT:     Okay.     All right.   So the
12             And the next one is Ms. Freitag.                   12   alternate juror is going to be the last one on the
13             And, Mr. Lammers, do you exercise a                13   front row on the far side, which is Ms. Lown, Nikki
14   peremptory?                                                  14   Lown.
15             MR. LAMMERS:     No, Your Honor.                   15              All right.     So let's talk about the Batson
16             THE COURT:     Mr. Goldensoph?                     16   challenge.
17             MR. GOLDENSOPH:     No, Your Honor.                17              Mr. Goldensoph, it's the challenger's
18             THE COURT:     That's Juror Number 11.             18   obligation to make a prima facie case.           So do you
19             The next one is Ms. Studebaker.                    19   want to go ahead and make a record?
20             And, Mr. Goldensoph, do you exercise a             20              MR. GOLDENSOPH:        Well, Your Honor, I think
21   peremptory strike?                                           21   just for the purposes of the record, Mr. Rogers was
22             MR. GOLDENSOPH:     No, Your Honor.                22   the only -- and everybody else can correct me if I'm
23             THE COURT:     Mr. Lammers?                        23   wrong, but from my recollection, the only person of
24             MR. LAMMERS:     Yes, Your Honor.                  24   any color, the only nonwhite person on the jury.                 He
25             THE COURT:     That would be the                   25   is a black man.
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 1   Government's --                                               1              Nobody asked any questions of him during
 2             MR. LAMMERS:     Fourth, I believe.                 2   voir dire, so he didn't provide any sort of answers
 3             THE COURT:     Fourth.   Yep.                       3   that seemed way off, left base, or anything like
 4             The next one is Ms. Hamlyn in the front row,        4   that.
 5   right-hand side.                                              5              And, frankly, there's nothing in his
 6             And, Mr. Lammers, does the Government               6   questionnaire that struck me as being off base or bad
 7   exercise a peremptory strike?                                 7   one way or the other.       He just seemed like a normal
 8             MR. LAMMERS:     Yes, Your Honor.                   8   guy.     And for these reasons, I believe the Batson
 9             THE COURT:     That would be the Government's       9   challenge is appropriate.
10   fifth.                                                       10              THE COURT:     Thank you.
11             The next one is Ms. Taylor.                        11              Mr. Lammers.
12             And, Mr. Goldensoph, do you exercise a             12              MR. LAMMERS:     Well, Your Honor, I don't mean
13   peremptory strike?                                           13   to be flip, but it frankly is not what struck
14             MR. GOLDENSOPH:     Yes, Your Honor.               14   Mr. Goldensoph from his questionnaire that is
15             THE COURT:     That would be the defendant's       15   determinant to the Court to be -- The standard is
16   10th and last strike.                                        16   whether there's race-neutral reasons for the
17             The next one is Mr. [sic] Morris.                  17   peremptory challenge.
18             And does the Government exercise a                 18              As you review the defendant's questionnaire,
19   peremptory strike?                                           19   we have no idea what the defendant's race is.              Yet
20             MR. LAMMERS:     Your Honor, I believe that's      20   you look at his questionnaire, and he admits that he
21   Ms. Morris.                                                  21   has three prior law enforcement contacts, two of
22             THE COURT:     Ms. Morris.      I'm sorry.         22   which he was acquitted on, one of which he was
23   Demarius.     Yep.                                           23   convicted for.
24             MR. LAMMERS:     And, yes, Your Honor, we do       24              He says that he has a brother who was
25   exercise a peremptory strike.                                25   charged with conspiracy.          And he says that he feels
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 1   that the legal system, while he likes it, he believes                 1   feelings one way or the other with regards to the
 2   that it can be biased.       And that is all facts that               2   criminal justice system or the courts that it would
 3   were known to the Government and noted by the                         3   make it difficult for you to sit as a juror in this
 4   Government prior to ever stepping in the room today                   4   case, something to that effect.       I don't have the
 5   and realizing what the -- what Mr. Rogers' race was.                  5   exact quote down.
 6              Those are race-neutral reasons for striking                6           But my point is that nobody, including
 7   a juror.     And we exercised an appropriate peremptory               7   Mr. Norris, raised his hand.      So his comments being
 8   challenge.                                                            8   in there what they are, he still indicated under oath
 9              MR. GOLDENSOPH:        Your Honor, if I could              9   that he would be able to fairly try this case.       And
10   address or respond?                                                  10   so I believe that Mr. Norris should not be struck.
11              THE COURT:     Yeah.     And so let me just make a        11           THE COURT:     All right.   I'm going to
12   further record, that the Government provided the                     12   overrule the Batson challenge.
13   Court with criminal histories as well.          And Juror            13           The question before the Court is whether the
14   Number 13, Norris Rogers, was listed among those with                14   Government has articulated race-neutral reasons for
15   criminal histories.                                                  15   striking this particular juror.
16              And that criminal history was noted that he               16           The Government has articulated before it
17   was convicted of theft, fifth degree, in 1981; a                     17   ever came in the courtroom and had any indication of
18   serious assault misdemeanor in 1986; an interference                 18   the juror's race that it had made decisions that
19   misdemeanor in 1998; and assault causing injury of                   19   there were negative things about this juror based on
20   peace officers and others in 2002.                                   20   the questionnaire.     And there's also criminal history
21              Is that the same individual?                              21   that is a race-neutral reason.
22              MR. LAMMERS:     It's the same individual.          And   22           The fact that the juror did not raise a hand
23   I would also note, Your Honor, that that -- those                    23   or suggest that he was biased in some way does not
24   convictions don't match what he described in his                     24   constitute evidence of the Government's race-neutral
25   questionnaire.                                                       25   reason as somehow pretextual.
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 1              In his questionnaire, I believe he talks                   1           And so I find that the Government has not
 2   about three arrests, one of which was a public intox.                 2   improperly struck this particular juror.       That will
 3   The second I think he claimed was alluding.          And then         3   be the Court's ruling on the Batson challenge.
 4   he admitted being convicted of an assault.          So that's         4           Are we ready to have the jury brought back
 5   additional race-neutral reasons for the strike.                       5   in, then?
 6              I'm sorry that I didn't mention that.           I          6           MR. LAMMERS:     Yes, Your Honor.
 7   didn't have the criminal history in front of me that                  7           MR. GOLDENSOPH:     Yes, Your Honor.
 8   we had provided to the Court.                                         8           THE COURT:     All right.   We are not going to
 9              THE COURT:     The way that the Batson                     9   read instructions before we take our lunch break.
10   procedure works is that the defense -- or the                        10           (Prospective jury enters.)
11   challenging party has an obligation to make a prima                  11           THE COURT:     All right.   Please be seated.
12   facie case.     I find that Mr. Goldensoph did that.                 12           All right.     Ladies and gentlemen, the
13              The Government then has to articulate                     13   parties have exercised their peremptory strikes and
14   race-neutral reasons for exercising its strike.                I     14   narrowed you down to 13.     And so I'm going to read
15   find the Government has articulated race-neutral                     15   off the names of those of you who have been selected
16   reasons for doing so.                                                16   to serve as jurors in this case.
17              It is now -- The burden then shifts back to               17           When I read off your name, I'd like you to
18   the challenging party to establish that the                          18   stand and remain standing until I've finished off
19   race-neutral reasons articulated are pretextual.                     19   reading all the names and have had a chance to check
20              And so the burden is now back on you, Mr.                 20   with the lawyers to make sure that I didn't read off
21   Goldensoph.                                                          21   the wrong names.     All right?
22              MR. GOLDENSOPH:        Thank you, Your Honor.             22           And so the first one is Brandi Davis,
23              I guess what I would state is that I believe              23   Spencer Bodensteiner, Amber Gerard, Ryan Hansen,
24   Your Honor, during your part of the voir dire, asked                 24   Tamera Gorter, Sean Stelken, Jacqueline Stefen- --
25   the jurors, is there anybody here who has such strong                25   Stephenson, Sandra Koch, Cheri Francik, Brian Elzey,
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 1   Megan Freitag, Julie Mooney, and Nikki Lown.                          1           Mr. Thompson.
 2              Mr. Lammers, is this the jury you selected?                2           THE CLERK:      If you can raise your right
 3              MR. LAMMERS:     Yes, Your Honor.                          3   hand.
 4              THE COURT:     And, Mr. Goldensoph?                        4           (Jurors sworn.)
 5              MR. GOLDENSOPH:     Yes, Your Honor.                       5                      *     *     *      *    *
 6              THE COURT:     All right.   Thank you.    You may          6
 7   all take a seat.                                                      7
 8              Those of you who were not selected to serve                8
 9   on this jury, again, don't take it personally.             This       9
10   isn't a judgment about whether you're a good or bad                  10
11   person.     The lawyers have to strike some people to                11
12   get us down to the 13.       And sometimes they may like             12
13   every one of you, but they have to exercise strikes                  13
14   somehow to get us down to 13.                                        14
15              And so thank you for coming in.        Your               15
16   service was valuable to us.       We needed to have people           16
17   from whom we could select a jury.         And so -- And              17
18   except for the people whose names I called, the rest                 18
19   of you are now excused.       And you go with the Court's            19
20   thanks.                                                              20
21              THE CLERK:     All rise.                                  21
22              MR. ROGERS:     I'm the only peer in here.          Why   22
23   didn't you pick me?                                                  23
24              Good luck, Bro.                                           24
25              (Prospective jurors not selected exit.)                   25
                     Sarah J. Dittmer, CSR, RPR                                               Sarah J. Dittmer, CSR, RPR
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 1              THE COURT:     All right.   Please be seated.
                                                                                                                                                 124
 2              All right.     What's going to happen now,
 3   ladies and gentlemen, is Mr. Thompson is going to                             1                         CERTIFICATE

 4   re-seat you back up here in this box where you'll                             2            I, the undersigned, a Certified Shorthand
                                                                                   3   Reporter and Notary Public of the State of Iowa, do
 5   actually be seated during the jury trial.           And so as
                                                                                   4   hereby certify that I acted as the Certified
 6   soon as he gets done with that, then we'll swear you
                                                                                   5   Shorthand Reporter in the foregoing matter at the
 7   in.                                                                           6   time and place indicated herein; that I took in
 8              So, Mr. Thompson.                                                  7   shorthand the proceedings had at said time and place;

 9              THE CLERK:     So I can have Ms. Davis here in                     8   that said shorthand notes were reduced to print under
                                                                                   9   my supervision and direction by means of
10   the first seat, followed by Mr. Bodensteiner here.
                                                                                  10   computer-aided transcription; and that the foregoing
11   Ms. Gerard, the third seat.       Mr. Hansen in the fourth
                                                                                  11   pages are a full and correct transcript of the
12   seat.     Ms. Gorter, Mr. Stelken, and Ms. Stephenson in                     12   shorthand notes so taken.

13   that row.     And then coming up to the row behind, Ms.                      13

                                                                                  14            IN WITNESS WHEREOF, I have hereunto set my
14   Koch, followed by Ms. Francik, Mr. Elzey, Ms.
                                                                                  15   hand this 17th day of December, 2019.
15   Freitag, Ms. Mooney, and then Ms. Lown.
                                                                                  16
16              THE COURT:     All right.   Thank you.                            17

17              Now Mr. Thompson is going to administer an                        18

18   oath to you as jurors.       You took an oath earlier to                     19                              ____________________________
                                                                                  20                              Sarah J. Dittmer
19   answer questions as prospective jurors.          You're now
                                                                                  21                              Certified Shorthand Reporter
20   going to take an oath as jurors.                                             22
21              And as soon as we're done with that, we'll                        23

22   go ahead and take a lunch break.         And when we come                    24

                                                                                  25
23   back after lunch, I will instruct you on the law.
24   And then the parties will start off with opening                                                  Sarah J. Dittmer, CSR, RPR
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25   statements.
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